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                    EXHIBIT %
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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF NEW YORK


NATIONAL RIFLE ASSOCIATION OF                   §
AMERICA,                                        §
                                                §
              Plaintiff,                        §
                                                §   CIVIL CASE NO. 18-CV-00566-TJM-
v.                                              §   CFH
                                                §
ANDREW CUOMO, both individually and             §
in his official capacity; MARIA T. VULLO,       §
both individually and in her official           §
capacity; and THE NEW YORK STATE                §
DEPARTMENT OF FINANCIAL                         §
SERVICES,                                       §
                                                §
                                                §
              Defendants.



               EXPERT WITNESS REPORT OF JAMES W. SCHACHT




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                                                   I.

                                          INTRODUCTION

          I have been retained by the law firm of Brewer, Attorneys & Counselors , as legal counsel
to the National Rifle Association of America (“NRA”), to provide an expert report and opinions
on certain matters relating to National Rifle Association of America, Plaintiff, v. Andrew Cuomo,
both individually and in his official capacity, Maria T. Vullo, both individually and in her official
capacity, and The New York State Department of Financial Services (“NYDFS”), Defendants
(Civil Case No. 18-CV-00566- TJM-CFH in the United States District Court for the Northern
District of New York).

          Attached as appendix to this report are the following: (1) my biography which contains a
list of the publications I have authored, list of other cases in which I have served as an expert, and
a summary of my personal background and experience; (2) list of my supplemental publication
from 2016; and (3) a list of the documents that I considered and reviewed in forming my opinions.

       (A)   EXPERIENCE AND QUALIFICATIONS

      I believe I am well qualified to provide opinions in this matter for the following reasons:

      1. I possess over thirty years of experience and service as a state government insurance
          regulator in Illinois, which is the home of some of the largest insurers in the United States
          and the world. During this time, I was appointed by two separate Illinois governors, on
          three occasions, to serve at the highest level of the Illinois Department of Insurance
          (“ILDOI”),1 as Acting Director.2 I held this office for nearly five years. For over twenty
          years, I was the Chief Deputy Director, which is second in command of the ILDOI. The
          Chief Deputy Director is responsible for managing the day-to-day activities and operation
          of the insurance department including insurance market conduct surveillance and




1
    ILDOI regulates entities involved in the business of insurance.
2
 This is Illinois’ counterpart to the Superintendent of the New York Department of Financial
Services. I served as ‘acting’ to preserve my civil service position and salary.


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       regulation.3 Throughout much of my tenure with the ILDOI I was responsible for the
       regulation of the surplus lines market in Illinois.          I oversaw several enforcement
       proceedings, administrative orders, and consent orders.
    2. In the mid-1980s, I was instrumental in the implementation of amendments to the Illinois
       insurance laws, which aimed to improve the oversight of the surplus lines market and
       created the Surplus Line Association of Illinois (“Illinois Association”).4 The Illinois
       Association and the New York, Excess Line Association of New York (“ELANY”),5 which
       are both non-profit industry associations created by statute, are responsible for encouraging
       compliance with the surplus lines insurance laws, liaising between brokers and the
       regulators, and conducting financial review and oversight of non-admitted markets as well
       as the collection of surplus lines taxes.
    3. For over twenty years, I was actively involved in the National Association of Insurance
       Commissioners (“NAIC”).6 I drafted numerous model laws and regulations which were
       considered for adoption in state legislatures across the country, including New York.
       Indeed, New York has implemented the regulatory tools and programs that I created to
       improve the surveillance and regulation of insurers.
    4. Because of my substantial knowledge and experience in insurance and its regulation, I was
       selected by the National Conference of Insurance Legislators (“NCOIL”) to perform a two–
       part study of the U.S. market conduct regulation and surveillance system and develop
       recommendations for improving that system. The recommendations I made as a result of

3
 Illinois was the first state in the United States to establish an independent unit within the insurance
department to perform market conduct surveillance and regulation.
4
  The Illinois Association is a liaison between the Department of Insurance and surplus line
producers. It is responsible for promoting compliance with the surplus line law, accepting filings
from surplus line producers, and reporting data to the Department of Insurance.
5
  Similarly, ELANY was created by statute and is a non-profit industry association. It is
responsible for encouraging compliance with the surplus lines insurance laws. It, too, is a liaison
between brokers and the regulators and, conducts financial review and oversight of non-admitted
markets. http://www.elany.org/about.aspx.
6
  The NAIC sets the standard for insurance regulation for the United States. It provides support in
relation to setting insurance standards and regulating the insurance market. It is governed by the
chief insurance regulators from the 50 states, the District of Columbia and five U.S. territories.
“Through the NAIC, state insurance regulators establish standards and best practices, conduct peer
review, and coordinate their regulatory oversight.” https://www.naic.org/index_about.htm.

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   this study are included in a model statute drafted by the New York insurance legislative
   staff. Although the model Act, adopted by NCOIL, resulted in the creation of several new
   working groups at the NAIC to improve the market conduct surveillance system in the U.S.
   it was not adopted by the NAIC for a variety of reasons. One major reason is that our report
   advocated for more reliance on the domestic state to minimize foreign state involvement.
5. After leaving government service, I created the first insurance regulatory practice unit at
   Coopers and Lybrand, an international professional service firm. Coopers and Lybrand and
   Pricewaterhouse merged in 1998 to form PricewaterhouseCoopers. The insurance
   regulatory unit provides consulting services to insurers, insurance brokers, agents and
   others. I spent over ten years in this unit and provided advice to numerous clients on
   insurance programs and related matters. Thereafter, for three years, I served as an
   independent contractor at other consulting firms, advising clients on insurance and
   regulatory matters.
6. In 2008, I formed my own consulting firm and continue to provide insurance and regulatory
   consulting services. Recently, I conducted a review and prepared a comprehensive report
   that examined the activities of an insurer’s U.S. subsidiary in the U.S. surplus lines market
   and corrective action taken to address regulatory concerns.
7. I have also served on the Board of Directors for three U.S. insurers, two of which market
   and distribute affinity insurance products.
8. As a result of my long career as a regulator, educator, receiver, contractor to state insurance
   departments, insurance industry consultant, author of numerous articles on insurance
   regulation and an insurance executive, I developed a robust understanding regarding what
   constitutes customary practices by insurance regulators in regulating market conduct.
9. I have not only had the opportunity to observe the actions of regulators throughout the
   country, but as a regulator I set regulatory policy concerning market conduct examinations
   and remedies for violations of insurance laws. During my tenure, Illinois received credence
   and praise for its insurance-regulatory competence and vision.




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    (B)    SCOPE OF ENGAGEMENT

       The NRA brought this legal action against Cuomo, Vullo, and NYDFS because of their
belief that the NRA was subject to discrimination and selective enforcement, retaliation, and other
unlawful conduct by the NYDFS, including in connection with the NRA’s affinity insurance
program.

       The scope of my engagement with the NRA is to, based upon my years and expertise in
creating, implementing and regulating the insurance market, in particular the surplus lines market:

           ·   Discuss the customary practices adhered to by state insurance regulators for
               conducting investigations and remediating violations;
           ·   Discuss the surplus lines market;
           ·   Discuss affinity programs and the rules and regulations applicable to Consent
               Orders between regulators and Lockton Affinity, LLC and Lockton Companies,
               LLC (collectively, “Lockton”), Chubb Group Holdings, Inc. (“Chubb”) and
               Certain Underwriters at Lloyd’s (collectively, “Lloyd’s”);7
           ·   Discuss the significance of Governor Cuomo’s press release directing the NYDFS
               to “urge insurers and bankers statewide to determine whether any relationship they
               may have with the NRA or similar organizations sends the wrong message to their
               clients and their communities”;
           ·   Discuss customary practices relating to regulators’ issuance of guidance letters;
           ·   Discuss customary practices relating to consent orders between insurance
               regulators and regulated entities;




7
 Certain Underwriters is defined as KLN 0510, managing agent Tokio Marine Kiln Syndicates
Limited; AUW 0609, managing agent Atrium Underwriters Limited; SAM 0727, managing agent
S.A. Meacock & Company Limited; CNP 0958, managing agent Canopius Managing Agents
Limited; CSL 1084, managing agent Chaucer Syndicates Limited; ROC 1200, managing agent
Argo Managing Agency Limited; GER 1206, managing agent AmTrust Syndicates Limited; BRT
2987, managing agent Brit Syndicates Limited; CNP 4444, managing agent Canopius Managing
Agents Limited; and LIB 4472, managing agent Liberty Managing Agency Limited.

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             ·   Analyze the Consent Orders between the NYDFS and Lockton, Lloyd’s and
                 Chubb, including the severity, or lack thereof, of the stated violations of the
                 insurance laws; and
             ·   In light of all of the foregoing, opine on whether, or to what extent, NYDFS can
                 reasonably be inferred to have deviated from the practices and norms of insurance
                 regulation in this case.


    (C)      COMPENSATION

       I am being compensated in this matter at my usual rate of $500 per hour and $200 per
hour for my associate’s time, plus expenses.

    (D)      SUMMARY OF OPINIONS

       A summary of my opinions is presented below, and detailed explanations are presented in
Section V.

       Opinion 1: Governor Cuomo’s April 2018 Press Release was highly unusual, as it is not
typical for a state governor to publicly direct an insurance regulatory agency, such as the NYDFS
to take action against specific entities—especially entities that are insurance customers or clients,
rather than regulated insurance brokers or carriers.

       Opinion 2: The Guidance Letters issued by Vullo and the NYDFS departed from the usual
and customary practices of insurance regulators, for several reasons: (1) the Guidance Letters
focused on political and social issues not related to insurance; (2) despite the foregoing, the
Guidance Letters invoked the NYDFS’s significant authority that would otherwise compel an
insurance institution within NYDFS’s jurisdiction to comply with the guidance, even if the letters
were not formally enforceable; (3) the Guidance Letters contravene public-policy considerations
that ordinarily guide regulators’ actions; (4) the Guidance Letters allege “reputational risk”
attributable to a specific affinity insurance customer based on the customer’s political views; and
(5) it can reasonably be inferred based on the issuance of the Guidance Letters that Defendants’
enforcement actions in this case are improperly motivated by political considerations beyond the
customary scope of insurance regulation.



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        Opinion 3: The NYDFS Investigation was highly unusual and did not proceed according
to customary insurance regulatory practice, for a number of reasons: (1) the NYDFS Investigation
originated from a complaint from a political organization whose sole purpose is to oppose the
NRA; (2) the NYDFS Investigation was not justified by any instance of harm that the NRA
insurance products caused consumers in the marketplace; (3) the NYDFS Investigation wrongfully
made the NRA its primary target; (4) the NYDFS did not provide a report of its investigation in
the subsequent Consent Orders; and (5) Vullo attempted to begin a multi-state investigation into
the NRA-related insurance products without using the proper regulatory avenues through the
Market Action Working Group.

        Opinion 4: The Consent Orders entered into by Lockton, Chubb, and Lloyd’s were highly
unusual and not customary to insurance regulatory practice for several reasons: (1) the Consent
Orders were overbroad; (2) the fines imposed against Lockton, Chubb, and Lloyd’s were excessive
and go well beyond any purported harm caused by the NRA affinity insurance programs; (3) the
Consent Orders improperly identify the NRA, even though the NRA is not the subject of the
Orders, and treat the NRA differently from other affinity organizations that were apparently found
to have engaged in the same conduct; and (4) the Consent Orders treat relatively minor declination
and ratings violations in a manner that dramatically departs from customary regulatory practice.

        I continue to review materials and documents related to this case and reserve the right to
supplement this expert report based on any additional work that I might be asked to do.

                                                II.

                                        BACKGROUND

        This Section provides certain background information germane to understanding my
opinions and the basis for those conclusions. It includes a brief overview of the nature and scope
of insurance regulation in the United States, a description of affinity insurance programs and an
explanation of the surplus lines market in the United States and the regulation of that marketplace.

A.      State Insurance Regulation.

        Since the early 1800s, the insurance industry has been subject to regulations, which cover
domestic insurers and reinsurers, foreign insurers and reinsurers, alien insurers and reinsurers,
surplus lines insurers, and individuals and entities that market insurance products, such as agents

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and brokers. Domestic insurers are those insuring entities that are incorporated in a particular state,
and foreign insurers are companies licensed by a state, but which are incorporated in another state.
Reinsurers are entities that assume all or part of a risk of an insurance company. Insurers
conducting business in the admitted market are required to obtain a license from each state where
they seek to provide services.

         Surplus lines insurers, such as Chubb, are companies that conduct business in one or more
states on a non-admitted basis. The Surplus lines market (also referred to as excess lines market)
is a less regulated market, which is discussed in Section IV.

B.       What Is the Role and Responsibility of a State Insurance Regulator?

             1.      The Purpose of Regulatory Authority.

         Across the United States, the role of a customary state insurance regulator is to ensure
compliance with the insurance statutes and regulations, establish a competitive insurance market,
ensure the availability of insurance products that insurance consumers require, and promote the
affordability of insurance. Indeed, the predecessor of the NYDFS,8 the New York Department of
Insurance, was founded with the following goals: 1) to foster the growth of the financial industry
in New York and spur state economic development through judicious regulation and vigilant
supervision; 2) to ensure the continued solvency, safety, soundness and prudent conduct of the
providers of financial products and services; 3) to ensure fair, timely and equitable fulfillment of
the financial obligations of such providers; 4) to protect users of financial products and services
from financially impaired or insolvent providers of such services; 5) to encourage high standards
of honesty, transparency, fair business practices and public responsibility; 6) to eliminate financial
fraud, other criminal abuse and unethical conduct in the industry; and 7) to educate and protect
users of financial services and ensure that users are provided with timely and understandable
information to make responsible decisions about financial products and services. 9 It is my
understanding that the NYDFS still seeks to further these same goals.



8
 The NYDFS was created in 2011 when Governor Cuomo signed into law the Financial Services
Law, which consolidated the insurance department and banking department into one state agency.
9
    See New York Financial Services Law §102.


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             2.      Scope of Regulatory Authority.

        With few exceptions (not relevant to the actions taken here), the insurance industry is
regulated at the state level.10 States have broad power and authority to regulate the business of
insurance from “womb” to “tomb” since most insurers’ activities are subject to oversight, and often
require prior approval from the regulator before they can be undertaken. This authority includes
the following areas: licensure of those entities seeking to engage in the business of insurance;
solvency oversight and requirements to ensure insurers have adequate funds to satisfy future
claims; rate and form regulation prescribing the terms of insurance contracts and prices that
customers may be charged for the coverage; and, market conduct regulation which oversees the
marketing of insurance contracts and the processing of claims. Such customary powers that state
insurance regulators generally possess were vested in NYDFS to ensure that insurance companies
are properly organized to satisfy claim obligations and that brokers are fit and knowledgeable to
sell insurance products. The power to grant a license also carries with it the authority to suspend
or revoke that license.

        In addition, state-based insurance regulations govern what insurance products may be sold
and what insurance-contract language may (or must) be utilized in a particular state. The form
review systems enacted across states vary to include state prescribed forms, prior approval of
forms, or no filing of forms.

        Rate regulation is another area of regulation which varies amongst the states as to the type
of requirements and which lines of insurance are covered. Requirements may include prior
approval, use and file, open competition or a no filing approach.

             3.      Function of Regulatory Authority.

        An insurance regulator’s authority is not unlimited, but rather is constrained by the laws
passed by the state legislature. Similar to other legislation, insurance statutes tend to be reactive to
problems or issues existing at a point in time. Often times these statutes become outdated, yet are
not removed from the body of insurance law. Thus, it is the responsibility of the regulator to


10
   The federal government regulates the insurance industry in discrete areas such as flood
insurance, terrorism coverage and risk retention groups, and the. Federal Insurance Office (“FIO”)
has been vested with authority to monitor the stability of the insurance industry.

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understand the history of insurance legislation and the concern or problem the legislation sought
to address. The regulator must then apply the statute to a current situation in a thoughtful manner.
An example of this can be found in the prohibition against payment of remuneration to entities
other than a licensed agent or broker. This prohibition comes from an era when agents were the
principal source of business. Today, sources of business and the manner of distribution have
changed to include the internet, affinity groups, call centers and many others. Thus, while the
regulator cannot ignore any statutory provisions, enforcement can and must be calibrated to reflect
the realities of the current marketplace.

            4.      Explanation of the Investigative / Enforcement Authority and Process.

       Insurance departments are vested with the broad power to examine and investigate those
licensed to operate insurance-related businesses in the state, to ensure that such licensees meet
statutory requirements and are in compliance with insurance laws. Insurance commissioners are
given discretion to determine who should be examined, how that examination should be conducted
and what the scope of that examination should include. If an examination or investigation reveals
violations of the insurance laws, the commissioner has broad discretion in fixing a remedy. Absent
any statutory provision dictating the remedy for a particular violation, the remedy sought by the
regulator is guided by the nature and level of the harm caused to consumers. When violations are
technical and no consumers are injured, remedial actions and fines sought are typically nominal.
For example, if provisions of an insurance policy form are found to be contrary to law by an
examiner, the regulator will typically require that the form be withdrawn, amended, and filed for
review and approval before continued use.

       States regulators use a variety of methods of enforcement to deter unlawful marketplace
conduct, which include monetary fines, cease and desist orders, consent orders, removal of officers
or directors, and license revocation or suspension. Regulators typically consider the violation of
the insurance law and its harm to the marketplace and consumer, and then assess a penalty which
aligns with the harm that such violation causes in the marketplace. The regulated entity has a right
to due process before a penalty is final. Final determinations are subject to judicial review, but in
most cases considerable deference is granted the insurance commissioner by a court, except in
certain cases where discretion has been abused.



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          Insurance regulations are designed, in significant part, to safeguard consumers of insurance
products and promote fair competition in the marketplace. Accordingly, financial solvency
regulation is one of the most important aspects of insurance regulation. Regulators routinely
examine the financial status of insurers to confirm that insurers are capable of satisfying the
contractual obligations of the insurance contracts that they sell. Financial solvency regulation is
highly developed and standardized throughout the United States and has been in existence since
the early days of regulation.     It prescribes the obligation of insurers to file certain reports, the
accounting standards and practices to be observed in the preparation of the reports, the manner in
which capital and surplus is to be maintained, controls on insurance holding company systems and
intercompany transactions, and prior approval requirements for many material transactions.

          Under various grounds, including impairment or insolvency, the insurance commissioner
has the discretion to place an insurer in supervision or judicially supervised conservation,
rehabilitation or liquidation.      Thereafter, the insurance commissioner is responsible for
administering the receivership under the supervision of the court.

C.        Superintendent of Financial Services.

          Like other administrative agencies or officials, the insurance commissioner (sometimes
referred to as the superintendent of each state) is granted only certain powers enumerated by state
law. Superintendents are authorized by the legislature to promulgate rules and regulations that
implement a statute (if administrative procedures for rulemakings have been followed and the rules
are consistent with the policy expressed by a statute).

          Domestic insurers, particularly in the area of financial regulation, are subject to greater
scrutiny than foreign insurers doing business in a state. Generally, rate and form regulation applies
to all insurers doing business in that state. Again, the principal objective of insurance regulation is
to establish a competitive insurance market and to ensure the availability of insurance products
desired by customers at the lowest cost and offered by insurers that are financially sound and
stable.

          An insurance regulator is not a prosecutor. A prosecutor is a government official charged
with bringing defendants in a criminal case to justice. An insurance regulator is charged with
enforcing the laws against the entire insurance industry. Customarily, this enforcement is handled


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in a fair and balanced way and consistent with the purpose and objectives of insurance regulation
as previously set forth. The insurance laws are complex, and violations can be small or serious
but all, except in but a very few cases, are subject to civil remedies. These remedies are by custom
fixed by regulators to fit the nature of the misdeeds.

       Little has been written about the role of state insurance commissioners in the U.S., and how
they develop their regulatory philosophy and agenda. Most of the studies of regulation have been
written by lawyers and economists with little attention paid to the ‘what’, ‘how’ and ‘why’ of
insurance regulation. Similarly, little has been written about the skills and qualities required to be
a successful chief regulatory official. From my experience, a regulator should be an individual
who can be fair, measured, balanced and who possess technical knowledge of the industry, and is
not seeking headlines. Just as important, a regulator should be able to leave personal views and
preferences at the door of the insurance department.

            1.      Coordination Among Interstate Regulatory Bodies.

       The NAIC is an important institution of the state regulatory system. It creates model laws
and regulations for consideration by state governments, establishes best practices, creates
regulatory tools for use by regulators, and provides a forum for communication and cooperation
among state regulators to effectively regulate the insurance industry which is a valuable and
important part of the global U.S. economy. Increasingly, insurance is a global business and the
NAIC has created important links with insurance supervisory officials throughout the world.

       Recently, enterprise risk management (“ERM”) has become a significant area of insurance
regulation, and thus a concern for insurance brokers and underwriters. This occurred largely as a
result of Solvency II requirements initiated by the European Union. Through the NAIC, state
regulators created a similar system that is called Own Risk of Solvency Assessment (“ORSA”) to
emulate the European model. Since this is a new area, state regulators are learning the intricacies
of ERM and ORSA so that they can be effectively applied throughout U.S. insurance regulation.

            2.      Examinations and Investigations.

       A typical insurance investigation customarily proceeds as follows. As mentioned above,
the state insurance superintendent is authorized to conduct examinations. Most market conduct
issues and problems are detected by periodic examinations of insurers, brokers or agents.

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Typically, market conduct examinations are commenced because of consumer complaints. Market
conduct examinations are performed by insurance department personnel with a background and
experience in insurance industry practices, technical knowledge in claims, underwriting,
marketing, distribution and related areas relevant to the line or lines of business of the entity being
examined. The examination is usually conducted at the offices of the company being examined.
This provides the examiners with immediate access to documents, as well as company personnel.
At the conclusion of the examination, a comprehensive report is prepared by the examiners setting
forth detailed findings and potential violations. Thereafter the supervisory staff reviews the
findings in the report to ensure that the violations are well documented, and the application of the
regulations comport with the Department’s current interpretation and application of the regulations
in the examination of other entities. Afterwards, an informal conference is held with officials from
the company under examination to discuss findings, possible violations and corrective action.
These meetings, in most cases, result in reaching an agreement between the Department and the
Company. The informal conferences are not adversarial since both parties share the common goal
of compliance with the insurance regulations and ensuring the issues are not repeated in the future.
Indeed, the New York Department of Insurance issued a publication that best states the philosophy
of insurance regulatory process, “It is better to convert the opponent by persuasion then to exercise
its inherent power.”11 After the examination report is agreed to, it becomes final, and in most
states, such as New York, available for public inspection. An order may be then entered to direct
the company to fix law violations.

        If, however, the parties are unable to reach an agreement, the company can typically request
a hearing to refute the examiner’s findings and/or the Department’s interpretation and application
of the statute. In practice, formal hearings are a rare occurrence.

        Except in rare cases of suspected fraud or improper nonpayment of claims or other harm
to policyholders, a formal investigation generally is not conducted using the commissioner’s
investigative power.



11
  NEW YORK STATE INSURANCE DEPARTMENT, Examination of Insurance Companies,
A Series of Lectures Delivered before the Examiners of the New York State Insurance Department;
Prepared under the Direction of Deputy Superintendent Adelbert G. Straub, Jr., New York, (Vol.
6 1953-1955), p. 6-7.

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                                                III.

                       AFFINITY GROUP INSURANCE PROGRAMS

A.      What Is an Affinity Group Insurance Program?

        Affinity and specialty programs in the insurance industry provide insurance solutions for a
wide variety of membership groups, which result in added value and strengthened relationships
between members and their organizations. There are tens of thousands of these programs in the
insurance industry today. The Professional Insurance Marketing Association is the leading affinity
group trade association and has estimated the total Affinity Market at $60 billion in insurance
premium.12 Part of the reason affinity groups have grown is the decline of the number of traditional
insurance agents and brokers.

        An affinity group is an established group of people having a common interest, goal, or
specific purpose. Generally, the affinity group has a solid reputation and connection with a
sizeable consumer base, which allows the affinity group to reach them in a more efficient way than
ordinary marketing approaches. Affinity groups typically include: membership organizations or
associations, nonprofits or charities, or companies that cater to specific demographics.

        There are two parties involved in an affinity group marketing campaign: the affinity group,
and the business providing the group with a product or service. Businesses who enter into affinity
partnerships are varied in size, scope and products offered. In the insurance industry, some of the
biggest direct marketing programs are affinity programs. Members of organizations like AARP
or USAA, for instance, are always looking for incentives to stay in an organization, making these
among the most successful affinity groups targeted by affinity marketing campaigns.

        By way of example, a group insurance policy, usually life, accident, health or disability
can be issued to the group with the coverage marketed to its members. Or individual auto, home
or professional liability policies can be sold to group members at special rates. These group
structures simplify the design and pricing of insurance products, and, of course, from a marketing
perspective presents plenty of advantages. Over the years, the definition of an affinity group has


12
  The Professional Insurance Marketing Association (“PIMA”) is the leading affinity group trade
association with a focus on propelling market growth in this area by engaging thought leaders,
cultivating relationships and fostering commerce.

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expanded to include groups that have little in common, other than a monthly payment relationship
with some organization or some other demographic that was of interest to marketers. Thus, there
are affinity programs for everything, from very tight knit organizations with high affinity like
professional associations of teachers, to programs that merely have a well-known sponsor, such as
a national bank credit card or checking service. One need only look at the affinity marketing
success stories of the credit card industry. The credit card industry used thousands of membership
groups to market credit cards, allowing for a better deal on credit cards for the middle-income
market. The collective power of large numbers of members allowed for a better deal on credit
cards.

B.       Benefits of an Affinity Group Insurance Program.

         Entities of all sizes, global corporations, start-ups, small enterprises, and affinity groups
realize that insurance is a way to manage risk, but often lack the time, resources, or know-how to
manage a successful insurance program. Insurance carriers and marketers, however, can design
customized products with attractive pricing and renewability. They can streamline the purchasing,
provide dedicated support for program participants, and reduce administrative burdens in
marketing, enrollment, billing, settlement, data management, and underwriting as well as customer
education.

         The economic advantages of affinity marketing are reflected in better response and sales
rates, better persistence and overall improved marketing profitability. Carriers, brokers, third-
party administrators, and active, involved affinity groups understand this. While the affinity
group’s objective is to generate high enough participation to cover the cost of it supporting the
program (at a minimum), the affinity group also has an opportunity to generate compensation in
the form of commissions, or fees and allowances.

     Affinity insurance programs are well suited to insurance marketers for a variety of reasons:

     ·   An affinity group member feels more comfortable if there are others who are already happy
         with buying an intangible-like insurance, especially if the policy is paired with the
         endorsement of an association.
     ·   Powerful branding can be achieved quickly at low cost by teaming up with a well-known
         and nationally respected organization for a sponsored marketing program.


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     ·   Affinity group members feel empowered by the negotiating strength and influence of the
         group, particularly if it involves a substantial amount of business. Group insurance
         policies, special group rates, and group discounts generally provide for a better deal.
     ·   Customized affinity programs provide insurance product features that relate to the
         characteristics of the membership. The offer for insurance is presented as endorsed by the
         association and facilitated by an insurer/ broker as required by insurance regulation.
     ·   Affinity group marketing allows for multiple media opportunities to build the relationship
         and present the full insurance product line available to the group’s members. (Websites,
         newsletters, magazines, direct mail, professional journals, social media, and timely content
         in the form of podcasts, etc., may all be used to sustain member interest.)

     Naturally, groups that sponsor affinity insurance programs want to be compensated for the
insurance broker’s use of their trademarks, mailing list, and other affinity group assets. Changes
to insurance laws to accomplish that have been slow in adoption; however, regulators generally
acknowledge that affinity insurance is a welcome and growing presence in the marketplace and
make reasonable efforts to accommodate it.

                                                 IV.

                   SURPLUS LINES INSURANCE MARKET OVERVIEW

A.       Surplus Lines Insurance Overview.

         Although state insurance law is designed to maximize the degree to which insurance is
written by licensed or admitted insurers, the surplus lines market in the United States (also called
the non-admitted market) functions as a supplemental market for risks not acceptable to the
standard insurance market.       For insureds unable to secure coverage from in-state licensed
companies, the surplus lines market provides an alternative market with flexibility, additional
capacity and innovative underwriting.        Every state recognizes some form of surplus lines
insurance, which goes by a variety of (synonymous) names: Surplus Lines, Excess and Surplus
Lines, E&S and Non-Admitted.

         Surplus lines law recognizes that in each state there will be consumers that require
insurance coverage who are unable to procure the necessary coverage from licensed insurers for
any number of reasons. Their risks may be characterized by a history of frequent or potentially

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catastrophic losses. Or, the desired coverage may be esoteric and outside of the licensed insurer’s
underwriting expertise. Additionally, the subject risks may require insurance limits that exceed
the capacity of the standard market.

        The surplus lines business predominately consists of commercial lines, although some
personal lines coverage can be written on a non-admitted basis, such as homeowner’s insurance in
catastrophe-prone areas. This occurs because the admitted market does not offer coverage in these
areas, or it does not provide coverage with policy terms that meet certain requirements. The
provision of residential coverage by surplus line carriers continues to grow since the major
hurricanes in the early 2000s.

        Insurers operating in the surplus lines market are generally small, such as specialty insurers,
specialized divisions of larger insurance organizations, or regulated aliens (including Lloyd’s).
These entities typically have significant expertise and experience with the coverages and business
found within the surplus lines market.

B.      Surplus Lines Regulation.

        The surplus lines market is often misunderstood from a regulatory standpoint due to the
common fallacy that it is regulated less than standard insurance markets. Rather, most states have
a detailed body of insurance law governing the activities of their surplus lines market.

        Surplus lines insurers (non-admitted insurers) are not licensed or admitted in the state
where the insured or risk is located or resides. However, the surplus lines insurer must be licensed
in its home state or country of domicile. It is the domiciliary regulator that oversees the financial
solvency and strength of the surplus lines insurer.

        The insured’s home state is the state responsible by federal law to oversee and regulate
surplus lines transactions entered into by a particular insured. Retail producers, surplus lines
insurance intermediaries, and program managers, all as the primary distributors for surplus lines
insurers, are the primary focus of state insurance regulatory mechanisms and oversight. Generally,
accounts are only written in the surplus lines market if coverage has been declined in the standard
market. Typically, three such declinations are required, but this standard can vary from state to
state. Some states compile and maintain “export lists” to regulate the flow of business between



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the admitted and surplus lines markets.13 These export lists identify coverages and insurance
products which are deemed to be generally unavailable from the admitted market, thus eliminating
the need for the broker to diligently first attempt to place these in the standard admitted market.

          As a non-admitted carrier, a surplus lines insurer is not subject to the rate and form review
and approval requirements of the insured’s home state; thus, the insurer is free to use policy forms
and rates appropriate to the risks accepted. This regulatory approach ensures an open and flexible
market for insureds unable to find adequate coverage in the admitted or standard market. While
exemption from rate and form filing affords insurers the flexibility to respond to changing market
conditions and coverage needs, this is offset by a risk that does not exist with an admitted insurer.
Policyholders placed with a surplus lines insurer are not protected in the event of insolvency by
the guaranty fund system, and the insured’s only source of recovery is the estate of the insolvent
insurer. The admitted market is heavily regulated with regard to solvency, rates and forms, market
conduct, investments, capital structure, surplus to premium ratios and affiliate relationships.
Additionally, licensed insurers are subject to participation in government-mandated insurance
programs and must pay assessments levied by state guaranty funds in the event of insurer
insolvencies.

         In order for an unauthorized insurer to write business under the surplus lines insurance law
of the various jurisdictions, it must first become an “eligible” surplus lines insurer. Most states
periodically publish lists of eligible surplus lines insurers to be used by licensed surplus lines
producers. These insurers meet the state’s financial strength and other standards. Other states
simply publish general standards the non-admitted insurer must meet in order to be eligible, and
then require the producer to satisfy itself that the particular insurer it wants to use meets those
standards. Prior to enactment of the federal Non-admitted and Reinsurance Reform Act of 2010
(“NRRA”) which became effective July 21, 2011, eligibility standards varied widely from state to
state. The NRRA sought to address a number of underlying problems as explained further below.

         As noted earlier, all states have laws that protect consumers by requiring specially licensed
and trained producers, which are intermediaries or program managers that assist consumers in
finding coverage unavailable in the standard markets. Much of each state’s surplus lines’ legal


13
     See http://www.elany.org/coveragecodes.aspx?d=1031.

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requirements are focused on those engaged in the distribution system for this coverage.            The
insured’s home state requires a surplus lines broker to be licensed to sell, solicit, or negotiate
surplus lines insurance. By way of example, a surplus lines broker would work with a consumer’s
agent or producer that is seeking the nonstandard insurance solution for their client. The surplus
lines broker is responsible for placing the coverage with an eligible surplus lines insurer, reporting
the transaction to the insurance regulator, remitting premium tax due to state authorities and
ensuring compliance with all the surplus lines regulations for that particular state.

C.      Stamping Offices.

        A more recent statutory development in surplus lines is the creation of stamping offices.
These offices are a joint and voluntary venture between the surplus lines industry and state
regulators with the goal of encouraging compliance and consistency outside of the regulatory
structure. The stamping office concept emerged when California formed the first Surplus Lines
Association in the 1930’s. Evaluating the eligibility of excess companies, offering assistance to
buyers, collecting surplus lines tax and generally educating the public about the surplus lines
market are among the functions of the stamping office.

        It is the view of some that the stamping offices permit easy access by insureds to the
approved lists of eligible carriers or disapproved lists, as the case may be. Stamping offices
facilitate communication with surplus lines brokers, and they also help brokers comply with the
stamping requirements. It is usually required that every surplus lines policy be stamped.           For
example, the surplus lines stamping fee is charged on all surplus lines insurance transactions in
New York by authority of Section 2130 of the New York Insurance Law. This fee helps fund the
operations of the Excess Line Association of New York. The surplus lines producer is required
by law to remit this fee to the Association on all insurance contracts written under his or her license.
The law also permits the producer to collect this fee from the insured.

D.      The Easing of Statutory Requirements and Regulatory Reform.

        On July 21, 2011, NRRA came into effect as part of the Dodd Frank Wall Street Reform
and Consumer Protection Act. The purpose of the NRRA was to create a more simplified and
efficient surplus lines tax payment and regulatory system by limiting regulatory authority of
surplus lines transactions to the home state of the insured and by establishing federal standards for


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the collection of surplus lines premium taxes, insurer eligibility, and commercial purchaser
exemptions. All states except Michigan and Washington, D.C., have enacted legislation to
implement the NRRA.14 Here is a brief summary of how provisions of the NRRA will affect the
current regulation of surplus lines insurance in the U.S.:

     ·   Compliance Responsibility is Exclusively with the Insured’s Home State:
         o No other state may require a surplus lines broker to be licensed in order to sell, solicit
            or negotiate non-admitted insurance with respect to such insured.
         o The laws, regulations, provisions or actions of any state that applied to non-admitted
            insurance sold to an insured whose home state is another state are preempted.
         o Only the insured’s home state is permitted to collect premium taxes for non-admitted
            insurance. All other states are preempted from applying their surplus lines laws to such
            transactions.
         o An insured’s home state is allowed to require surplus lines brokers, as well as insureds
            who have independently procured insurance, to file detailed annual tax allocation
            reports with the insured’s home state.
     ·   Uniform Standards for Surplus Lines Eligibility:
         o States are empowered to create uniform national requirements, forms and procedures
            for insurer eligibility for U.S. domiciled (foreign) surplus lines insurers.
         o States may not prohibit a surplus lines broker from placing non-admitted insurance
            with, or procuring non-admitted insurance from, a non-U.S., non-admitted insurer
            listed on the Quarterly Listing of Alien Insurers maintained by the NAIC’s
            International Insurer’s Department.
     ·   Exempt Commercial Purchaser:
         o The NRRA preempts any state laws or regulations requiring a surplus lines broker
            seeking to procure or place non-admitted insurance for certain sophisticated
            commercial purchasers to satisfy diligent search requirements under certain



14
   See Wholesale * Specialty Insurance Association, Nonadmitted and Reinsurance Reform Act,
Background,            (last           visited         March            15,          2019),
https://www.wsia.org/wcm/Legislative_Advocacy_Compliance___PAC/NRRA/wcm/Legislative
_Advocacy___PAC/NRRA_Background.aspx?hkey=9a0a7dcb-c6bf-4f52-aa89-7e958f5320d8.

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           circumstances. These transactions will still have to be reported, as only the diligent
           search requirement is waived.
   ·   States are Encouraged to Participate in National Producer Database:
       o States are encouraged to participate in the NAIC’s producer database or any other
           equivalent uniform national database for the licensure of surplus lines brokers and the
           renewal of such licenses.
   ·   Calculation of Surplus Lines Taxes:
       o Almost all of the states’ surplus lines codes have been amended to incorporate many of
           the terms of the NRRA, yet many states have yet to agree on a consistent tax sharing
           arrangement for surplus line premium tax.

       In 2009, states began enacting laws permitting the formation and licensure of domestic
surplus lines insurers. Illinois was the first state to enact this legislation in an attempt to address
the inefficiencies of the traditional regulatory scheme for surplus lines insurers. A company that
wishes to write coverage on a surplus line basis in all fifty states faces significant administrative
burdens if the insurer is domiciled in a state that has not enacted this legislation. In such states, a
U.S.-based surplus lines insurer must operate on a licensed/admitted basis in its state of domicile.
Thus, to write surplus lines insurance in the insurer’s home state, it is necessary to establish a
separately capitalized carrier in a different state for the sole purpose of writing surplus lines
coverage in the home state of the original insurer. These inefficiencies have become increasingly
apparent to the states.

       As states modernized their surplus lines laws, following enactment of the NRRA, trade
associations and interested insurers engaged state insurance departments and legislatures to
consider the benefits and the sensible rationale for the Domestic Surplus Lines charter. As of
2019, only a few states now offer a domestic insurer a certificate of authority to write surplus lines
as a Domestic Surplus Lines Insurer.

                                                  V.

                                            OPINIONS

       In this section, I set forth my opinions from an insurance regulatory standpoint on several
actions by the Defendants concerning the NRA, the Carry Guard Insurance Program, and other


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NRA affinity insurance programs, as well as the basis for my opinions. Based on the material I
reviewed, it is my opinion that the NYDFS did not follow usual and customary practices of an
insurance regulatory agency. Further, the NYDFS’s actions may have been improperly influenced
by bias concerning the topic of gun control and gun violence.

A.        Cuomo’s April 2018 Press Release.

              1.      Background Regarding Cuomo’s April 2018 Press Release.

          On April 18, 2018, Governor Cuomo issued a press release indicating that he had ordered
the NYDFS to advise the entities it regulates—including banking and insurance institutions—to
review their relationships with the NRA and similar so-called “Gun Promotion Organizations.”15
The Press Release specifically calls on regulated entities to “consider whether such ties harm their
corporate reputations and jeopardize public safety.16 Further, Governor Cuomo urged the entities
to “determine whether any relationship they may have with the NRA or similar organizations sends
the wrong message to their clients and their communities who often look to them for guidance and
support.”17

              2.      Opinion Regarding Cuomo’s April 2018 Press Release.

          It is extraordinary for a state governor to direct a regulatory agency, such as the NYDFS to
take discrete regulatory action against an insurer or broker, let alone a specific customer, especially
in such a public manner as through a press release. In my long career as a regulatory official, I
have never seen a state governor—in Illinois or any other state—take such an action. In Illinois,
for example, all communications and directives from the Governor’s office to the insurance
department were done privately, and the communications and directives seldom involved
regulatory action that should be taken by the department. Never did they involve action relating to
a social or political issue, such as gun control. The Governor and his staff understood that decisions


15
   New York Department of Financial Services, Press Release, Governor Cuomo Directs
Department of Financial Services to Urge Companies to Weigh Reputational Risk of Business Ties
to the NRA and Similar Organizations: Insurance Companies, Banks, and Other Financial
Institutions Encouraged to Review Relationships with the NRA and Similar Organizations, dated
April 19, 2018 (the “Press Release”).
16
     Press Release.
17
     Press Release.

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as to regulatory action to be taken or the type of action to be taken are made only by the head of
the agency and may only involve legitimate regulatory concerns. Indeed, the state legislature has
empowered the head of the department to take such action—not the Governor. In most states, the
governor typically appoints the insurance commissioner, and therefore the governor may be
viewed as the commissioner’s superior. Nonetheless, customarily, the governor does not direct
the insurance regulator to take specific actions against specific entities; instead, the state insurance
regulator typically strives and is expected to act as a neutral enforcer of insurance regulations, not
an instrument of the governor’s office that pursues political objectives.

B.         NYDFS Guidance Letters.

                 1.   Background Regarding the NYDFS April 2018 Guidance Letters.

           On April 19, 2018, Vullo issued Guidance Letters with a memorandum titled “Guidance
on Risk Management Relating to the NRA and Similar Gun Promotion Organizations”, which was
sent to the Chief Executive Officers of all insurers doing business in the State of New York. 18 The
same letter was sent to each CEO of a bank doing business in New York. The Guidance Letters
cited recent incidences of gun violence and “encouraged” insurers to evaluate their “reputational
risk” that may arise from their dealings with the NRA or similar Gun Promotion Organizations.19
As referenced above, these Guidance Letters were preceded by Governor Cuomo’s April 18, 2018,
Press Release indicating that he ordered the NYDFS and Vullo to disseminate the content of the
Letters.

                 2.   Opinions Regarding the NYDFS April 2018 Guidance Letters.

           It is my opinion that the Guidance Letters issued by the NYDFS were not part of the
usual and customary practice of an insurance regulatory agency for the following reasons:




18
  Vullo, Maria T., Superintendent of Financial Services, Memorandum, Guidance on Risk
Management to the NRA and Similar Gun Promotion Organizations, dated April 19, 2018 (the
“Guidance Letters”).
19
     Id. at 1.

                                                  22
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                           (a) The Guidance Letters Focus on Political Topics Unrelated to
                               Insurance.

       While directed to insurers, most of the content in the Guidance Letters sent to insurers does
not address insurance issues, but rather, political and social controversies surrounding gun
ownership and gun violence. As explained above, the primary responsibility of an insurance
regulatory agency is to enforce the insurance laws and regulations, not to enact personal or political
agendas unrelated to insurance and its regulation.

                           (b) Nonetheless, the Guidance Letters Invoke the Regulatory
                               Authority of the NYDFS.

       As described earlier, pronouncements by a state insurance regulator typically carry great
weight with the institutions it regulates, and are not ignored even if they cover an area outside the
purview of the regulatory agency. An agency like the NYDFS has numerous ways to retaliate
against regulated entities if they misbehave, as well as to make an insurer’s “life” unpleasant.
Ultimately, the regulator’s licensing authority and power is a way to keep insurers “in line” and
compliant, and all regulated entities are keenly aware of this.         Accordingly, based on my
experience as an insurance regulator, I believe it is highly unlikely that an official regulatory
guidance letter urging particular action would be ignored by an insurer, even if the guidance letter
were technically unenforceable, did not contain mandatory language, or commented on matters
beyond the immediate scope of the regulator’s jurisdiction. Instead, it is reasonably likely that an
insurer wishing to remain in the good graces of the insurance regulator would comply with the
guidance. Compliance would be particularly likely if the guidance urged an action that would not
materially impact the insurer’s bottom-line profits.

                           (c) The Guidance Letters Contravene Public-Policy Considerations
                               That Typically Guide Insurance Regulation.

       The Guidance Letters were directed to insurance executives primarily responsible for
managing profitable insurance enterprises, as well as providing insurance coverage of the type and
nature consumers desire or need and of the type and nature for which an insurer is authorized to
write. The public policy considerations that generally govern insurance regulation include an
emphasis on free-market rights and liberties, including the ability of consenting parties to
underwrite or purchase specifically designed coverage – irrespective of whether the insured had
controversial political views. Our free enterprise system and markets in the United States, as well

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as individual rights and liberties, should allow insurers to be able to make these coverages available
to consumers that desire such coverage. As explained above, insurance regulators are generally
responsible for establishing a competitive market that ensures the availability of coverages suitable
to consumers’ desires.

                             (d) The Guidance Letters Indicate That Specific Clients Create
                                 “Reputational Risk” and Suggest Arrangements With Those
                                 Clients Be Discontinued.

          The Guidance Letters advise institutions that “dealings” with the NRA, or organizations
sharing the NRA’s political views, may create “reputational risk” for them.20 This is the first
instance of which I am aware that an insurance regulator expressed any concern, directly or
indirectly, regarding an insurer’s reputation for transacting lawfully with particular clients based
on their political speech.

          Insurers are in business to sell policies. As discussed above, over the past decade, ERM
was another tool created to regulate the insurance industry. In many respects, it codifies processes
and procedures insurance carriers had employed for a long time, since insurance is all about risk
assumption and sharing. Nevertheless, it introduced into insurance regulation a new lexicon of
words and terms associated with enterprise risk management, including “reputational risk.” It is a
part of general operational risk that may arise from rare events, such as improper treatment of
policyholders caused by improper claim practices, bad behavior of key employees or management,
or security breaches of policyholder data that result in adverse press coverage. Importantly, an
insurance regulator’s action, such as a public announcement, should not be the source or origin of
the adverse press coverage because of the consequences it may have on an insurer’s financial
stability or standing in the marketplace or that of its customers. Adverse publicity could cause a
“run on the bank” that would be detrimental to the insurer and require regulatory intervention. For
this reason and others, regulators do not make public announcements except in cases that warrant
such disclosure such as when an insurer has been placed in receivership. Put simply, to
affirmatively create reputational risk where none previously existed would contradict every
reasonable customary objective of a state insurance regulator.



20
     See Guidance Letters at 1–2.

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       In addition, the type of “reputational risk” customarily considered by insurers and
insurance regulators consists of risks to solvency, safety, or soundness—reputational concerns that
might precipitate the above-referenced “run on the bank” scenario. By contrast, the risk that an
insurer might be criticized for refusing to blacklist or boycott a customer who holds controversial
political views has never been a cognizable risk weighed by state insurance regulators or any ERM
analysis.

       Notably, New York was one of the first states to require insurers to maintain an ERM
program. When an insurer is examined by the NYDFS, the scope of that examination includes a
review of an insurer’s ERM program. The examination program does not include any reference
to reputational risk or to the type of customers an insurer has that may create reputational risk.
This exclusion is appropriate since reputation risk will arise when major elements of a risk
management program are not effective. As stated earlier, the type of customer insured does not
create risk unless someone in authority puts such a customer into issue. Based on my experience
and expertise and the absence of any conventional reason to invoke ERM reputation risk in this
situation, it is my opinion that the purpose for which Defendants chose the “reputational risk”
language contained in the Guidance Letters was to leverage the mechanics of insurers’ ERM
programs in order to discourage business with the NRA or other Second Amendment groups. It is
also my opinion that even if an insurer had no objection to the NRA’s politics and assessed no
business risk associated with boycotts or other public criticism, the receipt of the Guidance Letters
could create, for the first time, an internal ERM compliance consideration that would disfavor or
disallow business with the NRA.

                           (e) Guidance Letters Reflect Improper Political and Personal
                               Influences Driving Defendants’ Enforcement Priorities.

       For every controversial social issue like gun control, there are (at least) two sides. An
insurance regulator, like any other government official or U.S. citizen, is entitled to his or her
personal perspective on these issues—but it would be unusual and inappropriate for an insurance
regulator to enforce the law unevenly, or prioritize punishing some alleged violators over others,
based on political considerations unrelated to the solvency or soundness of insurers or insurance
markets. For this reason, it is my opinion that the Guidance Letters’ emphasis on political and




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social concerns that have nothing to do with the business of insurance distinguishes the letters as
a highly unusual and inappropriate use of the NYDFS imprimatur.

C.       NYDFS Investigation.

         It is my opinion that the investigation into the NRA insurance policies carried out by the
NYDFS deviates markedly from customary insurance-regulatory practice, for the reasons set forth
below.

             1.      Background for the NYDFS Investigation.

         It appears that the NYDFS commenced an investigation of the NRA insurance programs
in October of 2017.21 This investigation appears to have been incited by a communication from
an entity called “Everytown for Gun Safety.”22 The investigation was initially filed with the New
York County District Attorney before being referred to the NYDFS. Lockton Affinity, an affiliate
of Lockton Companies, LLC, was the administrator and marketer of NRA’s Carry Guard and other
insurance programs. Chubb, through its affiliate, Illinois Union Insurance Co. (“Illinois Union”),
an authorized surplus lines insurer in New York, underwrote the Carry Guard Insurance Program
from April 2017 through November 2017. Further, certain Lloyd’s syndicates wrote various NRA
insurance coverages from January 2000, through May 31, 2018. In May 2018, Lloyd’s of London
announced that it would direct its underwriting syndicates to suspend all participation in the NRA
programs because of the NYDFS investigation.

             2.      Opinion Regarding the NYDFS Investigation.

         In my opinion, the NYDFS investigation into the NRA insurance policies was highly
irregular and did not follow standard procedure for a regulatory investigation into an insurance
business practice, for the following reasons:




21
  Declaration of Matthew L. Levine in Opposition to Plaintiff’s Motion to Compel and in Support
of Defendants’ Motion for a Protective Order, dated February 4, 2019, at 1 (the “Levine
Declaration”).
22
   See Everytown for Gun Safety, NRA Carry Guard Fact Sheet & Legal Analysis, August 2017
(the “Everytown Fact Sheet”).

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                             (a) The Genesis of The NYDFS Investigation Was Unusual and
                                 Inconsistent with Prevailing Regulatory Practice.

           The receipt of the complaint from Everytown for Gun Safety appears to have caused the
NYDFS to initiate the investigation of the NRA insurance programs. The investigation was
launched within months of the NYDFS receiving the complaint. Based on my experience in the
area of insurance regulation, this is a short period of time to start a market-conduct review,
especially considering the volume of consumer complaints and other inquires an insurance
department typically receives. Additionally, Everytown was not an insured under the NRA
insurance programs, nor was it seeking information on insurance programs it was considering
purchasing. Rather, Everytown is an organization concerned about gun violence and changing
gun laws. Further, Everytown’s statement was not a consumer complaint, nor did it allege that
any consumers were harmed, the normal trigger for a market conduct exam.23 Instead, the
statement raised a number of questions about the NRA insurance programs and urged an
investigation by state insurance departments.24 Never in my career have I witnessed a state
insurance regulator commence an investigation based on an overtly political incitement from a
person or entity having nothing to do with state insurance markets (as opposed to, for example, a
complaint from an individual insured or a consumer rights group).
           The NAIC provides guidance on this issue, stating in the Market Regulation Handbook that
“low investigative priority should be given to issues that do little or no harm to consumers (i.e.,
advertising, rebating).”25 It appears the NYDFS accorded the NRA insurance program a high
priority for some other reason.




23
     See Everytown Fact Sheet.
24
     Id.
25
     NAIC Staff, MARKET REGULATION HANDBOOK (2010), p. 103.

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                           (b) The NYDFS Investigation Is Not Justified by Any Consumer
                               Harm.

       I see no evidence of harm that would warrant the actions taken by the NYDFS. None of
the documents issued by NYDFS identify any harms to consumers as a result of any purported
conduct by the NRA or its affinity partners, nor do any of the documents highlight nonpayment of
claims or dissatisfaction by policyholders with the service they received. The main issue appears
to be the nature and source of the coverage provided. As previously indicated, consumers turn to
the unregulated surplus lines market for coverage they cannot obtain in the admitted market
because of statutory restrictions. They should have the freedom to do so, and customarily do have
such freedom.

       Unfortunately, on the rare occasion, government entities undertaking any form of inquiry
are tempted to see it as a badge of honor to come up with findings that chime with the favored
position on any presently-relevant political or social issue. This is not the proper role of an
insurance regulator, as all insurance regulators realize, but that is the role that the NYDFS appears
to have taken on here.

                           (c) The Primary Target of the NYDFS Investigation Was the NRA.

       Based on my background in the insurance business, and given the context of all the
NYDFS’s actions surrounding the NRA and the various related enforcement actions, I believe that
the only way to explain the NYDFS’s actions is by concluding that the primary target or subject
of the NYDFS investigation was actually the NRA, and the secondary targets were Chubb,
Lockton and Lloyd’s. No alternate insurance-based rationale could explain the timeline and
NYDS’s actions:
       a.       September–October 2017: Everytown for Gun Safety compliant received by the
                NYDFS.
       b.       October 2017: NYDFS investigation launched.
       c.       April 2018: Governor Cuomo Press Release regarding the NRA.
       d.       April 2018: NYDFS Guidance Letter regarding the NRA.
       e.       May 2018: Lockton and Chubb Consent Orders.
       f.       December 2018: Lloyd’s Consent Order.



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Notably, the NRA is not in the insurance business. Rather, it is a consumer of insurance and lends
its trademark to insurers for the purposes of providing insurance to NRA members. Lockton, as
its broker, is obligated to ensure that insurance laws are complied with. This makes NYDFS’s
focus on the NRA highly unusual.

                              (d) The NYDFS Does Not Include a Report of an Examination or
                                  Investigation in the Consent Order.

           It is unusual that there is no mention of a report of examination or investigation in any of
the Consent Orders. Preparation of such a report is usual practice. In fact, the NAIC has given
guidance to the states on the contents of an investigative report, set forth in the “Market Conduct
Regulation Handbook.”26 Such a report would provide information on who conducted the inquiry,
specificity about the findings of the inquiry; the scope of the examination, and whether the focus
was only on the NRA (or also, for example, other customers with similar insurance programs); and
an explanation for why certain practices at issue were found to be contrary to the New York
Insurance Law and related matters.27

                              (e) Vullo Attempted to Initiate a Multi-State Investigation of the
                                  NRA Without Utilizing MAWG.

           The NAIC has created the Market Action Working Group (MAWG) to coordinate
multistate actions and to curtail duplicative actions and activities when numerous states may be
involved in the same regulatory issues. The purpose is to also alert other commissioners of
insurance regulation violations that it believes are pervasive nationwide. Yet, Vullo failed to
utilize MAWG. Instead, in August 2018, Vullo informed fourteen state commissioners about New
York’s action to halt the sale of the Carry Guard Insurance Program in New York and the violations
of the New York Insurance Laws related to the sale and marketing of the product in New York. 28


26
     NAIC, MARKET REGULATION HANDBOOK, p. 102.
27
     Id.
28
  See Letter from Vullo to California Insurance Commissioner Dave Jones, dated August 7, 2018;
Letter from Vullo to Connecticut Insurance Department Commissioner Katharine Wade, dated
August 7, 2018; Letter from Vullo to Hawaii Department and Commerce and Consumer Affairs
Commissioner Gordon I. Ito, dated August 7, 2018; Letter from Vullo to Massachusetts Division
of Insurance Commissioner Gary Anderson, dated August 7, 2018; Letter from Vullo to Minnesota
Department of Commerce Commissioner Jessica Looman, dated August 7, 2018; Letter from


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Vullo urged the states to investigate the matter to determine if the Carry Guard Insurance Program
violates each state’s respective laws. These communications were unusual in that they were only
sent to selected states, and it is unclear as to what criteria were employed to select these states. It
is further unclear why, if the NYDFS viewed the matter as serious, it did not send the
communications to all state insurance commissioners in the United States. It raises the question
as to why the MAWG was not notified by NYDFS. The creation of MAWG was a result of the
report I prepared for NCOIL, as discussed above.29 I suspect that many of the commissioners
notified by Vullo might hold views similar to Governor Cuomo and Vullo on the issue of gun
control in the United States.

D.        Consent Orders.

          It is my opinion that the Lockton, Chubb, and Lloyd’s Consent Orders are questionable,
unusual, and inconsistent with customary insurance regulatory practice.

               1.     Background for the NYDFS Consent Orders.

          The NYDFS entered into, and published, Consent Orders with certain Lloyd’s syndicates
that underwrote the policies at issue, 30 as well as with Chubb and Illinois Union,31 and Lockton


Vullo to New Jersey Department of Banking and Insurance Commissioner Marlene Caride, dated
August 7, 2018; Letter from Vullo to Superintendent of Insurance John G. Franchini, dated August
7, 2018; Letter from Vullo to Oregon Insurance Commissioner Andrew Stolfi, dated August 7,
2018; Letter from Vullo to Pennsylvania Insurance Department Commissioner Jessica K. Altman,
dated August 7, 2018; Letter from Vullo to Rhode Island Superintendent of Insurance Elizabeth
Kelleher Dwyer, dated August 7, 2018; Letter from Vullo to Virginia State Corporation
Commission Commissioner Scott A. White, dated August 7, 2018; Letter from Vullo to Vermont
Department of Financial Regulation Commissioner Michael S. Pieciak, dated August 7, 2018;
Letter from Vullo to District of Columbia Insurance, Securities and Banking Commissioner
Stephen C. Taylor, dated August 7, 2018; Letter from Vullo to Washington State Insurance
Commissioner Mike Kreidler, dated August 7, 2018.
29
     See Section II (C)(1), supra.
30
   In the Matter of Certain Underwriters at Lloyd’s London Subscribing to Insurance Policies
Issued to the National Rifle Association of America, Consent Order Under Sections 1102 and
3420 of the Insurance Law, dated December 20, 2018 (the “Lloyd’s Consent Order”).
31
  In the Matter of Chubb Group Holdings Inc. and Illinois Union Insurance Company, Consent
Order Under Sections 1102 and 3420 of the Insurance Law, dated May 7, 2018 (the “Chubb
Consent Order”).


                                                  30
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Affinity, LLC and Lockton Companies, LLC.32 A Supplemental Consent Order was entered into
with Lockton Affinity, LLC and Lockton Companies, LLC, subsequent to the Lockton Consent
Order.33

       Consent orders are a common way to bring to a voluntary resolution the adverse findings of
an examination or investigation. Someone unfamiliar with insurance regulation might ask why
each entity would agree to such a Consent Order containing strong language and heavy fines.
Based on my experience, there are likely several reasons. First, a consent order is an expedient and
less costly way to bring to conclusion a dispute. Most insurers seek a prompt conclusion and
certainty when controversies arise with an insurance regulator. Other options, such as a formal
administrative hearing or a court trial, take time, can be costly, and may not produce the desired
result. Standing on principle does not produce business or profits, and a public controversy may
result in less of both. The regulated also know the regulator has a public voice that the uninvolved
hear as independent, informed, and unbiased. Companies know that the regulator wants results
and is able and willing to wait for them. As previously stated, insurance regulators have a great
deal of power and authority, so the regulated need the regulator in a non-combative posture to get
even routine matters addressed by the regulator in the usual course of business. For these reasons,
insurers and brokers are motivated to settle.

                       (1)    The Lockton Consent Order.

        The Lockton Consent Order, dated May 2, 2018, sets forth the agreement, for the purpose
of settlement, that Lockton Affinity, LLC and Lockton Companies, LLC committed the following
violations of the New York Insurance Law: (1) the NRA acted as unlicensed broker; (2) Lockton
aided Chubb in selling illegal coverages in New York; (3) Lockton offered free, one-year NRA
memberships in exchange for the purchase of Carry Guard insurance coverage; (4) Lockton failed
to obtain a declination for each of the insured under the Carry Guard Insurance Program; (5)
Lockton impermissibly advertised Chubb’s financial condition; and (6) Lockton offered “No Cost

32
  In the Matter of Lockton Affinity, LLC and Lockton Companies, LLC, Consent Order Under
Articles 21, 23, and 34 of the Insurance Law, dated May 2, 2018 (the “Lockton Consent Order”).
33
  In the Matter of Lockton Affinity, LLC and Lockton Companies, LLC, Supplemental Consent
Order Under Articles 21, 23, and 34 of the Insurance Law, dated January 31, 2019 (“Supplemental
Consent Order”).


                                                31
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Arms Care Firearms Insurance” to NRA members.34 The settlement included in the Lockton
Consent Order provides for the following: (1) a civil penalty of $7 million; (2) an agreement to not
participate in the Carry Guard Insurance Program or similar programs; and (3) an agreement to not
participate in any NRA affinity program.35

                        (2)    The Supplemental Consent Order.

         The Supplemental Consent Order between Lockton and the NYDFS, dated January 31,
2019, contains Lockton’s agreement that, following the initial Lockton Consent Order, it identified
to NYDFS additional violations of New York laws and regulations, including: (1) Lockton Affinity
unlawfully compensated certain unlicensed entities in violation of Insurance Law § 2116; (2)
Lockton aided in the unlawful provision of insurance policies that may not have been offered in
the New York State surplus line market; (3) Lockton procured from unauthorized insurers
impermissible group policies for insureds whose home state is New York; (4) Lockton Affinity
improperly advertised the financial condition of unauthorized insurers it was working with; (5)
Lockton Affinity called attention to unauthorized insurers by issuing advertising materials
referencing the unauthorized insurers by name; (6) Lockton failed to properly sure declinations
from authorized insurers; (7) Lockton failed to disclose and obtain the required writings when an
insured was an exempt commercial purchaser; and (8) Lockton Affinity failed to properly pay
surplus line premium taxes with respect to certain policies it helped to procure.36             The
Supplemental Consent Order required Lockton to pay a civil monetary fine of $400,000.37

                        (3)    The Chubb Consent Order.

         The Chubb Consent Order, dated May 7, 2018, sets forth the agreement, for the purposes
of settlement, that Chubb and Illinois Union violated the New York Insurance Laws by engaging
in the business of insurance without a license by issuing or delivering policies in New York State,
or otherwise offering insurance coverage not offered in the New York State surplus line market,



34
     Lockton Consent Order at 11–12.
35
     Lockton Consent Order at 11–15.
36
     Supplemental Consent Order at 2–3.
37
     Supplemental Consent Order at 3.


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including: (1) defense coverage in a criminal proceeding not permitted by law; (2) liability
coverage for bodily harm or property damage “expected or intended from the insured’s standpoint
in an insurance policy limited to use of firearms” that was beyond the use of reasonable force; and
(3) improper coverage for expenses incurred by the insured for psychological counseling support.38
Further, Chubb and Illinois Union admitted to issuing liability insurance coverage to New York
residents that did not contain required liability insurance policy provisions.39 The settlement with
Chubb required: (1) the payment of a $1.3 million civil penalty; (2) an agreement to not participate
in the Carry Guard Insurance Program; (3) an agreement to not underwrite or participate in any
NRA affinity program; and (4) the cancellation of all Carry Guard policies currently in place.40

                        (4)      The Lloyd’s Consent Order.

         The Lloyd’s Consent Order, dated December 20, 2018, indicates that the certain
underwriters for Lloyd’s, for purposes of settlement, offered coverage that is illegal in New York,
including specifically: (1) defense coverage in a criminal proceeding, (2) liability coverage for
bodily injury or property damage caused by self-defense action involving a firearm by the insured,
and (3) the coverage provided did not contain required policy provisions for a liability policy.41
The settlement with Lloyd’s included: (1) Lloyd’s payment of a civil penalty of $5 million; (2) an
agreement that Lloyd’s would not issue self-defense policies; (3) an agreement that Lloyd’s would
not participate in any NRA affinity programs, or any other program that does not comply with the
New York Insurance Laws; (4) an agreement that the Certain Underwriters at Lloyd’s will not
issue any group insurance program in New York; (5) a requirement to for the Certain Underwriters
at Lloyd’s to cancel the coverage provided by the “No Cost Arms Care Firearm Insurance Policy”;
(6) a requirement for Certain Underwriters at Lloyd’s to non-renew any of the NRA-related
insurance programs; (7) an agreement that the Certain Underwriters at Lloyd’s will not issue in




38
     Chubb Consent Order at 6.
39
     Chubb Consent Order at 6.
40
     Chubb Consent Order at 6–8.
41
     Lloyd’s Consent Order at 6–7.


                                                33
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New York a policy that provides legal services coverage; and (8) an agreement that the Certain
Underwriters at Lloyd’s will not pay an illegal rebate.42

              2.     Opinions Regarding the Consent Orders.

         In my opinion, the Lockton, Chubb, and Lloyd’s Consent Orders, as well as the
Supplemental Consent Order, are questionable, unusual, and inconsistent with customary
insurance regulatory practice for the following reasons:

                           (a) The Consent Orders Are Overbroad and Exceed the Authority
                               of the NYDFS.

         The scope of the Consent Orders is extremely broad, and in certain cases it appears to go
well beyond the authority of an insurance regulator. The scope of the Consent Orders is
excessively broad in the following ways: (a) the Chubb Consent Order precludes Chubb and
Illinois Union from underwriting any NRA affinity-type program, when only the Carry Guard
policy was found to be objectionable;43 (b) Chubb is further ordered to not issue any Carry Guard
Insurance Program or similar programs to residents of other states outside of New York, even
though such a prohibition would be outside the authority of the NYDFS;44 (c) the Lloyd’s Consent
Order requires non-renewal of policies, even though only the insured has the right to non-renew;45
and (d) both Chubb and Lockton are directed in their respective Consent Orders to cancel the Carry
Guard Insurance Policy, which only the insured can do.46 Even assuming that a policy was issued
contrary to the New York Insurance Laws, it is still enforceable under most insurance laws, if
issued to insureds outside New York.

                           (b) The Civil Penalties Imposed Are Excessive.

         Based on my knowledge and experience, the amount for the civil penalties imposed by the
Chubb, Lockton and Lloyd’s Consent Orders are excessive. These penalties were as follows:


42
     Lloyd’s Consent Orders at 7–10.
43
     Chubb Consent Order at 7.
44
     Chubb Consent Order at 7.
45
     Lloyd’s Consent Order at 8–9.
46
     Chubb Consent Order at 7; Lloyd’s Consent Order at 8–9.


                                                34
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Lockton, $7 million; Chubb, $1.3 million; Lloyd’s, $5 million.47 The total amount of the penalties
exceeded the total insurance premium from all the NRA’s insurance programs, which amounted
to approximately $12 million, and far more than the NRA’s revenue from such programs of which
was $1.8 million. These penalties are extreme when compared to the limited nature of the
violations agreed to by these parties, especially when none of the violations harmed any consumers
in any way.

                           (c) The Consent Orders Improperly Identify The NRA.

         It is not typical for the name of the sponsoring organization to appear in consent orders
relating to affinity programs. The NAIC Market Regulation Handbook requires that steps be taken
to protect the privacy and confidentiality of consumers.48 Moreover, although the Lockton
Consent Order and the Supplemental Consent Order address many of the same types of alleged
insurance violations, only the Lockton Consent Order names a consumer—the NRA. In other
words, it is reasonable to infer that the NRA was singled out by Defendants.

                           (d) Treatment of Purported Declination Violations.

         Some of the alleged adverse findings reported in the Consent Orders are treated in a manner
that diverge markedly from prevailing insurance regulatory practice.               For example, the
investigators cite that Lockton failed to obtain purportedly necessary declinations for each insured
covered by a surplus lines product.49 It is unusual and surprising to see a regulator assert that it is
necessary to obtain a declination from the admitted market for each insured when the coverage
sought and provided in each instance is identical. (This also assumes that declinations are even
required, which may not be the case because certain coverages are exempt from surplus lines
statutes). Even if the declinations are required, I have never seen a declination requirement
enforced in the harsh manner chosen here (ordinarily, a failure to obtain a declination would not
be sufficiently important to bear mentioning in a consent order), let alone punished with such large
civil monetary fines.



47
     Lockton Consent Order at 12; Lloyd’s Consent Order at 7; Chubb Consent Order at 6.
48
     See generally, NAIC, MARKET REGULATION HANDBOOK.
49
     See Lockton Consent Order at 10.

                                                  35
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                           (e) Financial Rating Violations.

       States may restrict the ability of insurance brokers to advertise the financial ratings or
credentials of surplus-line underwriters.     Violations of such restrictions are generally not
considered severe, nor harshly punished. I cannot recall any instance over the course of my career
when a state insurance regulator imposed a six-figure fine, let alone prohibited future sales of a
policy, based on an unauthorized reference to a carrier’s financial rating.

       The opinions set forth above are based on the documents I have reviewed, and I reserve
the right to amend, by removal or additions, my opinions should I receive additional documents or
information.




                                                 36
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                     EXHIBIT 1
                   Case 1:18-cv-00566-TJM-CFH Document 176-4 Filed 02/28/20 Page 43 of 78
                                                 Insurance consultants on regulation, restructuring & insolvency, litigation, and public policy




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                                                 James W. Schacht
                                                 James W. Schacht is President of The Schacht Group. The Schacht Group advises national and
                                                 international clients with respect to insurance and regulatory matters.
                                                 0U6FKDFKWKDVRYHU¿IW\\HDUVRIEURDGEDVHGH[SHULHQFHZLWKWKHLQVXUDQFHLQGXVWU\DQGDOO
                                                 DUHDVRILQVXUDQFHUHJXODWLRQLQFOXGLQJLQVXUDQFHUHFHLYHUVKLSVUHVWUXFWXULQJWURXEOHG
                                                 companies and run-offs, as well as solvency regulation.
                                                 Mr. Schacht served for thirty-one years at the Illinois Department of Insurance. During this
Professional History                             tenure, he served as Director of Insurance on three separate occasions at the request of two
 President, The Schacht Group                 Governors, as well as serving as Chief Deputy Director and as the Special Deputy Receiver.
    (2008-present)                               Illinois is the home to several of the largest insurers in the United States.
   Managing Director, Navigant
    Consulting (2005-2008)
                                                 For over twenty years, Mr. Schacht took an active leadership role in the National Association of
   National Director,
    PricewaterhouseCoopers (1995-2005)           ,QVXUDQFH&RPPLVVLRQHUVDYROXQWDU\DVVRFLDWLRQRIWKHFKLHILQVXUDQFHUHJXODWRU\RI¿FLDOV
   Director, Chief Deputy Director,             of the various states. Several of Mr. Schacht’s reform initiatives garnered national attention,
    Special Deputy Receiver,
    Illinois Department of Insurance             particularly the development of the NAIC’s Insurance Regulatory Information System, an
    (1964-1995)                                  HDUO\ZDUQLQJV\VWHPIRUSURSHUW\DQGOLDELOLW\FRPSDQLHVWKHGHYHORSPHQWRIWKH¿UVW1$,&
Education                                        +DQGERRNRQ6WDWXWRU\$FFRXQWLQJ3UDFWLFHVDQG3URFHGXUHVWKH1$,&¶V)LQDQFLDO5HJXODWLRQ
 Northern Illinois University,
    1959–1960, Liberal Arts
                                                 Standard & Accreditation Program, The Troubled Insurer Handbook, and numerous model
   Elmhurst College, 1960–1962,                 laws, regulations, and regulatory tools.
    Liberal Arts
   Walton School of Commerce,                   He is a recognized authority on insurance receiverships and guaranty funds. He has vast
    1962–1964, Bachelor of Science –
    Accounting
                                                 H[SHULHQFHLQGHDOLQJZLWKWURXEOHGLQVXUHUVDQGGHYHORSLQJFUHDWLYHUHVFXHSODQV+HVHUYHG
   Northwestern University,1964–1966,           IRURYHUWHQ\HDUVDVDVWUDWHJLFDGYLVRUIRUWKHVXFFHVVIXOUXQRIIRIWKH/XPEHUPHQV0XWXDO
    Real Estate Law & Finance and                Insurance Group. Also, he developed a corrective plan for Triad Guaranty Insurance Corporation,
    Advanced Accounting
                                                 DPRUWJDJHLQVXUHUWKDWHQFRXQWHUHG¿QDQFLDOGLI¿FXOW\DVDUHVXOWRIWKHPRUWJDJHDQGKRXVLQJ
Professional Associations
 &HUWL¿HG,QVXUDQFH5HFHLYHU               FULVLVDQGDGYLVHG5HSXEOLF0RUWJDJH,QVXUDQFH&RPSDQ\
    Multiple Line – Designation by
    International Association of                 Mr. Schacht has given deposition and court testimony on numerous occasions in civil, criminal,
    Insurance Receivers
                                                 DQGWD[OLWLJDWLRQLQYROYLQJLQVXUDQFHDQGUHJXODWRU\LVVXHV,QDGGLWLRQKHKDVWHVWL¿HGEHIRUH
   Former Member, Natl. Assoc. of
    Mutual Insurance Companies,                  congressional and state legislative committees.
    Accounting Committee, 1996–2006
   President and Member, Board of Trustees      Mr. Schacht’s clients have included American Insurance Group, Sun Life Insurance Company of
    of the Financial Examiners
    Educational Foundation
                                                 Canada, Lloyds of London, American General Group of Companies, St. Paul Group of Companies,
   President and Member of the Board of         Firemen’s Fund Insurance Companies, XL Insurance Group, Sears, Insurance Legislators Foundation,
    Directors of the Insurance Regulator         Vesta Insurance Group, CNA Financial Group, Swiss Reinsurance, AXA Reinsurance Group, Zurich
    Education Foundation
   Member, International Association
                                                 ,QVXUDQFH*URXS/XPEHUPHQV0XWXDO,QVXUDQFH*URXS7ULDG*XDUDQW\,QVXUDQFH&RUSRUDWLRQWKH
    of Insurance Receivers                       $PHULFDQ)UDWHUQDO$OOLDQFH2OG5HSXEOLF,QVXUDQFH&RPSDQ\DQG$OOVWDWH,QVXUDQFH&RPSDQ\
   Prior Member, Association of Insurance
    and Reinsurance Run-off                      0U6FKDFKWSUHSDUHGIRUWKH1DWLRQDO&RQIHUHQFHRI,QVXUDQFH/HJLVODWRUVWKUHHSXEOLFSROLF\
    Companies, Chair of Legislative &
    Amicus Subcommittee                          VWXGLHVRQLQVXUDQFHUHJXODWLRQ7KH¿UVWVWXG\ZDVDVXUYH\RQKRZ86LQVXUDQFHUHJXODWRUV
   2I¿FLDOREVHUYHUIRU,QWHUQDWLRQDO          oversee the market practices of U.S. insurers. The second study was recommendations for
    Association of Insurance Supervisors         improving the present system of market conduct surveillance. The study’s recommendations
   Member, AIDA Reinsurance &
    Insurance Arbitration Society (ARIAS-US)     ZHUHDFFHSWHGQRWRQO\E\1&2,/EXWKDYHIRUPHGWKHEDVLVIRUUHIRUPLQJZKDWUHJXODWRUVGR
Board of Directors Membership                    to monitor insurer practices and institute remedial action. The third study was a comprehensive
 )LGHOLW\/LIH$VVRFLDWLRQDQG$I¿OLDWHV      report on state authority over the insurance industry. A monograph was prepared for the
    including Chair of Investment Committee
    (2006 - present)                             American Fraternal Alliance on insurance guaranty funds.
   Hiscox Specialty Insurance Company,
    Hiscox Insurance Company and Hiscox          +HKDVVHUYHGRQWKH%RDUGRI'LUHFWRUVRID86VXEVLGLDU\RIDPDMRULQWHUQDWLRQDOSURSHUW\
    USA including Chair of the Audit Committee   and casualty insurer and continues serving on the Board of an innovative U.S. life insurer.
    (2007 - 2015)
    Case 1:18-cv-00566-TJM-CFH Document 176-4 Filed 02/28/20 Page 44 of 78
2                Previous Employment Experience

                 Navigant Consulting, Inc., 2005-2008
                 Managing Director
                     Managing Director in the Financial Services – Insurance and Reinsurance practice. Led the
                      Regulatory, Restructuring and Run-Off practice.

                 PricewaterhouseCoopers LLP, 1995 – 2005
                 National Director
                     5HFUXLWHGE\&RRSHUV /\EUDQGWRFUHDWHWKH¿UVWLQVXUDQFHUHJXODWRU\SUDFWLFHZLWKLQD
                     %LJDFFRXQWLQJ¿UP
                     6HUYHGDVDQH[SHUWFRQVXOWDQWDQGZLWQHVVRQDYDULHW\RILQVXUDQFHUHLQVXUDQFHDQG
                       regulatory issues in litigation. He has advised clients on new insurance products, organizing
                     LQVXUDQFHFRPSDQLHV¿QDQFLDODQGUHSRUWLQJUHTXLUHPHQWVDQGVHFXULQJUHJXODWRU\
                     DSSURYDOIRUDYDULHW\RIWUDQVDFWLRQV+HKDVFUHDWHGUHRUJDQL]DWLRQSODQVIRUWURXEOHG
                       insurance companies. He developed a run-off plan for a very large property & casualty
                       company, and continues to provide strategic advice and performs other consulting assignments.
                     'LUHFWHGSXEOLFSROLF\VWXGLHVIRUOHJLVODWLYHRUJDQL]DWLRQVDQGSUHSDUHGPRQRJUDSKVDQG
                      studies for insurance trade associations on current issues in insurance and regulation.

                 Illinois Department of Insurance, 1994 – 1995, 1991 – 1992, 1982 - 1983
                 Director of Insurance
                     $SSRLQWHGE\WZRJRYHUQRUVWRFDELQHWOHYHOSRVLWLRQDVKHDGRIWKHVWDWHDJHQF\ZKLFK
                      oversees and regulates the insurance industry in Illinois. Illinois is the home to several of
                      the largest insurers in the United States. Directed a staff of well over 300 people, including
                      actuaries, attorneys, and other insurance professionals.

                 Illinois Department of Insurance, 1978–1995
                 Chief Deputy Director
                     Managed the ‘day-to-day’ operations of the insurance department and directed the regulation
                     RIWKHLQVXUDQFHLQGXVWU\GRLQJEXVLQHVVLQ,OOLQRLV7KH'HSXW\'LUHFWRUVKHDGLQJHDFKRIWKH
                      functional areas of the insurance department reported to Mr. Schacht, as well as, various staff
                     SRVLWLRQVLQFOXGLQJSXEOLFLQIRUPDWLRQDQGUHODWLRQVOHJLVODWLYHOLDLVRQDQGUHVHDUFK

                 Illinois Department of Insurance, 1987–1995
                 Special Deputy Receiver
                     $SSRLQWHGE\WKH'LUHFWRURI,QVXUDQFHWRRYHUVHHDQGPDQDJHWKHLQVXUDQFHUHFHLYHUVKLS
                     RSHUDWLRQDQGWKHDGPLQLVWUDWLRQRIZHOORYHU¿IW\LQVXUDQFHFRPSDQLHVWKDWKDGEHHQSODFHG
                     LQUHFHLYHUVKLSSURFHHGLQJVDQGVXEMHFWWRFRXUWVXSHUYLVLRQ5HFHLYHUVKLSVWDIIH[FHHGHG
                      employees and consisted of claims personnel, accountants and auditors, attorneys and other
                      insurance professionals.

                 Illinois Department of Insurance, 1974–1978
                 Deputy Director – Financial and Corporate Branch
                   2YHUVDZDQGGLUHFWHGVHYHUDOIXQFWLRQVDQGDFWLYLWLHVLQFOXGLQJ¿QDQFLDOH[DPLQDWLRQDQG
                     analysis of insurance companies; review and approval of reinsurance, mergers, acquisitions
                   DQGRWKHUWUDQVDFWLRQVDQGGHDOLQJZLWKWURXEOHGLQVXUHUV

                 Illinois Department of Insurance, 1964–1974
                 Chief Examiner and various other positions—Examination Division
                     2YHUVDZDQGGLUHFWHGWKHGLYLVLRQWKDWFRQGXFWHGH[DPLQDWLRQVRILQVXUDQFHFRPSDQLHVGRLQJ
                     EXVLQHVVLQ,OOLQRLV([DPLQDWLRQVZHUHGRQHWRGHWHUPLQH¿QDQFLDOFRQGLWLRQDQGFRPSOLDQFH
                      with statutes and regulations.

                 Insurance consultants on regulation, restructuring & insolvency, litigation, and public policy
    Case 1:18-cv-00566-TJM-CFH Document 176-4 Filed 02/28/20 Page 45 of 78
3                $I¿OLDWLRQVDQG$ZDUGV
                     ±1$,&¶V5REHUW('LQHHQ$ZDUGLQUHFRJQLWLRQRIORQJVHUYLFHDQGRXWVWDQGLQJ
                     FRQWULEXWLRQWRWKH1$,&DQGLQVXUDQFHUHJXODWLRQ
                     1996 – National Association of Mutual Insurance Companies (NAMIC) Chairman’s
                     $ZDUGLQUHFRJQLWLRQRIFRQWULEXWLRQDQGVHUYLFHLQUHJXODWLRQDQGWRWKHLQVXUDQFHLQGXVWU\

                 NAIC
                  Mr. Schacht was a long time leader and active participant in the NAIC. At the request of the
                  1$,&RI¿FHUVKHFUHDWHGWKHSODQIRUD¿QDQFLDOVHUYLFHVRI¿FHDWWKH1$,&+HKDVZULWWHQ
                  numerous model laws and regulations concerning holding companies, guaranty funds,
                  receiverships, and reinsurance. He was actively involved in annual statement changes and
                  statutory accounting matters.
                  Under Mr. Schacht’s leadership, the NAIC developed The Troubled Insurer Handbook, which
                  WRGD\LVDJXLGHIRULQVXUDQFHGHSDUWPHQWVLQGHDOLQJZLWKWURXEOHGLQVXUDQFHFDUULHUV2YHUWKH
                  \HDUVKHKDVEHHQDVWURQJSURSRQHQWRIUHJXODWRU\UHIRUPWRPHHWWKHGHPDQGVRIWKHQHZ
                  ¿QDQFLDOVHUYLFHVPDUNHWSODFH$VFKDLUPDQRIWKHJURXSZKLFKGHYHORSHGWKHOHJLVODWLRQIRU
                  an Interstate Compact for Insurance Receiverships, Mr. Schacht saw an opportunity to use the
                  FRPSDFWDVDYHKLFOHWRDGGUHVVWKHSUREOHPVRIWKHH[LVWLQJUHFHLYHUVKLSV\VWHPEXWDOVRWR
                  address other areas of state insurance regulation. He also developed several manuals for the
                  NAIC, including the following, as well as numerous model laws and regulations:
                       Statutory Accounting Manuals for insurance companies;
                       Requirements for independent audit opinions and actuarial opinions; and,
                       Financial Regulation Standards and Accreditation Program.
                      +HFRRUGLQDWHGWKH1$,&¶VDFWLYLWLHVDQGRYHUVLJKWRIWURXEOHGFRPSDQLHVLQFOXGLQJ
                       %DOGZLQ8QLWHG,QVXUDQFH&RPSDQLHVDQG([HFXWLYH/LIH,QVXUDQFH&RPSDQ\

                  In 1990, Mr. Schacht was honored with the National Association of Insurance Commissioner’s
                  GLVWLQJXLVKHG5REHUW('LQHHQ$ZDUGLQUHFRJQLWLRQRIKLVRXWVWDQGLQJFRQWULEXWLRQWRLQVXUDQFH
                  regulation. In 1996, he received the National Association of Mutual Insurance Companies’
                  $ZDUGLQUHFRJQLWLRQRIKLVFRQWULEXWLRQDQGVHUYLFHLQUHJXODWLRQDQGWRWKHLQVXUDQFHLQGXVWU\

                 ([SHUW7HVWLPRQ\3XEOLFDWLRQV 6SHHFKHV
                 Mr. Schacht has spoken to numerous insurance industry and association groups on insurance and
                 UHJXODWRU\VXEMHFWV,QKHZDVFKRVHQWRUHSUHVHQWWKH8QLWHG6WDWHVDVRQHRIVHYHQOHFWXUHUV
                 DWDQLQWHUQDWLRQDOVHPLQDURQUHLQVXUDQFHVSRQVRUHGE\WKH8QLWHG1DWLRQV&RQIHUHQFHRQ7UDGH
                 and Development held in Singapore. He has authored numerous articles on insurance regulation and
                 KDVVHUYHGDVDUHYLHZHURILQVXUDQFHWH[WERRNV&RXUWVKDYHTXDOL¿HGKLPDVDQH[SHUWRQYDULRXV
                 insurance, reinsurance and regulatory matters.
                 Expert Testimony
                  %HIRUHWKH$UL]RQD,QVXUDQFH'HSDUWPHQWLQWKHPDWWHURI&RURQHW                            2FWREHU
                   ,QVXUDQFH&RPSDQ\6XVSHQVLRQ2UGHU'RFNHW
                  %HIRUHWKH'HSDUWPHQWRI,QVXUDQFHRIWKH&RPPRQZHDOWKRI                                   'HFHPEHU
                     Pennsylvania in the matter of the Application for Approval of the
                   3ODQVRI0HUJHU 5HVWUXFWXUH6XEPLWWHGE\&HUWDLQ&,*1$&RV
                   Commonwealth Court of Pennsylvania LaFarge Corp., et. al. vs. .                              January 1996
                     Commonwealth of Pennsylvania Insurance Department
                   Chancery Court of Davidson County, Tennessee at Nashville,                                   July 1996
                   'RXJODV06L]HPRUHLQKLVRI¿FLDOFDSDFLW\DVWKH&RPPLVVLRQHU
                     Of the Tennessee Department of Commerce & Insurance vs. Lloyd’s
                     Of London, et. al., Case #96-1336II
                  86'LVWULFW&RXUWRI(DVWHUQ'LVWULFWRI9LUJLQLDDW5LFKPRQG                             $XJXVW
                   /RXLV)$OOHQYV/OR\G¶VRI/RQGRQHWDO&DVH&9

                 Insurance consultants on regulation, restructuring & insolvency, litigation, and public policy
    Case 1:18-cv-00566-TJM-CFH Document 176-4 Filed 02/28/20 Page 46 of 78
4                ([SHUW7HVWLPRQ\ &RQW¶G
                   Mark Boozell, Director of Insurance vs. Lake Shore National Bank                             March 1997
                  ,QVXUDQFH&RPPLVVLRQHURIWKH6WDWHRI&DOLIRUQLDYV*ROGHQ(DJOH                          0D\
                   ,QVXUDQFH&RPSDQ\&DVH1R6XSHULRU&RXUWRIWKH6WDWHRI
                     California for the County of San Francisco.
                   Raymond T. Karsian, et. al. vs. Inter-Regional Financial Group, Inc.                         June 1997
                     and Dain Bosworth, Inc.
                   Keisha Johnson, et. al. vs. Aronson Furniture Company,                                       August 1997
                     Case No. 96C0117, U.S. District Court for Northern District of
                   ,OOLQRLV(DVWHUQ'LYLVLRQ
                  )DXONQHUHWDOYV+HOLJ0H\HUV&RPSDQ\&DVH1R&                               $XJXVW
                   86'LVWULFW&RXUWIRU1RUWKHUQ'LVWULFWRI,OOLQRLV(DVWHUQ'LYLVLRQ
                  ,QWHUQDO5HYHQXH6HUYLFHYV8WDK0HGLFDO,QVXUDQFH$VVRFLDWLRQ                            1RYHPEHU
                   867D[&RXUW
                  6XQ/LIH$VVXUDQFH&RPSDQ\RI&DQDGDYV6XQ$PHULFD,QF                                  'HFHPEHU
                   &LYLO$FWLRQ1R&9-7&86'LVWULFW&RXUWIRUWKH
                     Northern District of Georgia
                  &RPSDxLD$JULFRODGH6HJXURV6$)LUVW)LUH 0DULQH,QVXUDQFH                           0DUFK
                     Co., Ltd., Lucky Ins. Co. Ltd. And Oriental Fire & Marine Insurance
                     Col. Ltd. vs. American Centennial Insurance Co.
                   National Guardian Life Insurance Co. vs. Crestar Securities Corp.,                           January 1999
                     Case No. 97-C-616-C, U.S. District Court for Western District of Wisconsin
                  =XULFK,QVXUDQFH&RHWDOYV&RPPLVVLRQHU867D[&RXUW                             -DQXDU\
                   'RFNHW1RVDQG
                  5HOLDQFH,QVXUDQFH&RPSDQ\HWDOYV)RUXP,QVXUDQFH&RPSDQ\                             )HEUXDU\
                   86%DQNUXSWF\&RXUWIRUWKH'LVWULFWRI'HODZDUH&DVH1R-:
                   George Nichols, Commissioner of Insurance of the Commonwealth                                March 1999
                     of Kentucky, in his capacity as Liquidator of Delta American Re Insurance
                     Company vs. America Risk Management, Inc. et. al., U.S. District Court of
                   6RXWKHUQ'LVWULFWRI1HZ<RUN&DVH&,9
                   Centennial Management Services, Inc., et. al. vs. AXA Re Vie et. al., U. S.                  March 1999
                   'LVWULFW&RXUWRI.DQVDV&DVH1R
                   Centennial Management Services, Inc., et. al. vs. AXA Re Vie et. al., U. S.                  April 1999
                   'LVWULFW&RXUWRI.DQVDV&DVH1R
                  ,QWHUQDO5HYHQXH6HUYLFHYV&0+ROGLQJV,QF&DVH1R                             $SULO
                  ,QWHUQDO5HYHQXH6HUYLFHYV&0+ROGLQJV,QF&DVH1R                             0D\
                    Blue Cross and Blue Shield of Kansas, Inc. vs. Carla Stovall, Kansas                         July 1999
                   $WWRUQH\*HQHUDO'LVWULFW&RXUWRI6KDZQHH&RXQW\.DQVDV&DVH1R&9
                    *HRUJH1LFKROV&RPPLVVLRQHURI,QVXUDQFHRIWKH&RPPRQZHDOWK                              2FWREHU
                      of Kentucky, in his capacity as Liquidator of Delta American
                      Re Insurance Company vs. America Risk Management, Inc. et. al.,
                  86'LVWULFW&RXUWRI6RXWKHUQ'LVWULFWRI1HZ<RUN&DVH&,9
                  ,QWHU$PHULFDQ/LIH,QVXUDQFH&RPSDQ\DQG$ODEDPD5HLQVXUDQFH                              6HSWHPEHU
                   &RPSDQ\±5HLQVXUDQFH$UELWUDWLRQ
                  5*$5HLQVXUDQFH&RPSDQ\DQG8/,&2&DVXDOW\&RPSDQ\                                          2FWREHU
                   5HLQVXUDQFH$UELWUDWLRQ
                  'HOWD$PHULFDQ5H,QVXUDQFH&RPSDQ\LQ/LTXLGDWLRQ                                        1RYHPEHU
                     Proof of Claim of First State Insurance Company.

                 Insurance consultants on regulation, restructuring & insolvency, litigation, and public policy
    Case 1:18-cv-00566-TJM-CFH Document 176-4 Filed 02/28/20 Page 47 of 78
5                ([SHUW7HVWLPRQ\ &RQW¶G
                  3U\RUHWDOYV7KH)LGHOLW\ &DVXDOW\&RPSDQ\RI1HZ<RUNHWDO                    -DQXDU\
                   &RRN&RXQW\&LUFXLW&RXUW1R&+
                  +HUVFKHWDOYV&RQWLQHQWDO&DVXDOW\&RPSDQ\HWDO                                   -DQXDU\
                   &RRN&RXQW\&LUFXLW&RXUW1R&+
                  7UXVWPDUN,QVXUDQFH&RYV*HQHUDO &RORJQH/LIH5HRI$PHULFD                          )HEUXDU\
                   86'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI,OOLQRLV&DVH1R&
                  5HOLD6WDU/LIH,QVXUDQFH&RYV,2$5H,QFDQG6ZLVV5H/LIH&DQDGD )HEUXDU\
                   86'LVWULFW&RXUWRI0LQQHVRWD&DVH1R&9-05)/1
                  6WDWHRI7HQQHVVHH([5HO$QQH%3RSHYV;DQWXV+HDOWK3ODQRI                         0DUFK
                     Tennessee, Inc., No. 99-917-11, Chancery Court for Davidson County Tennessee
                   &53/0DQDJHPHQW&RPSDQ\HWDOYV&RPPHUFH ,QGXVWU\,QVXUDQFH $XJXVW
                   &RPSDQ\HWDO1R&&LUFXLW&RXUWRI&RRN&RXQW\,OOLQRLV
                     Chancery Division
                  &53/0DQDJHPHQW&RPSDQ\HWDOYV$OOLDQ],QVXUDQFH&RPSDQ\                             'HFHPEHU
                     Group, (Deposition)
                  /LVD0(Q¿HOGHWDOYV7KH2OG/LQH/LIH,QVXUDQFH&RPSDQ\                             -DQXDU\
                   RI$PHULFD1R&96HFRQG-XGLFLDO'LVWULFW&RXUW
                   &RXQW\RI%HUQDOLOOR6WDWHRI1HZ0H[LFR
                  )RUWXQH,QVXUDQFH&RPSDQ\LQUHFHLYHUVKLSYV&ODUHQGRQ                                   0D\
                   1DWLRQDO,QVXUDQFH&RPSDQ\5HLQVXUDQFH$UELWUDWLRQ
                   +DUU\:/RZ,QVXUDQFH&RPPLVVLRQHURIWKH6WDWHRI&DOLIRUQLD                             2FWREHU
                   DQGDV&RQVHUYDWRU/LTXLGDWRUDQG5HKDELOLWDWRURI([HFXWLYH/LIH
                     Insurance Company vs. Altus Finance S.A., Credit Lyonois S.A.,
                   $UWHPLV6$HWDO&DVH1R &:; 8QLWHG6WDWHV'LVWULFW
                     Court for the Central District of California.
                  'RQDOG:$EVKLUHHWDOYV'HSDUWPHQWRI,QVXUDQFHHWDO                            2FWREHU
                   &DVH1R&:WK-'&6WDWHRI/RXLVLDQD
                  7UXRQJHWDOYV$OOVWDWH,QVXUDQFH&RPSDQ\&DVH1R&9 0DUFK
                   6HFRQG-XGLFLDO'LVWULFWFRXUW&RXQW\RI%HUQDOLOOR6WDWHRI1HZ0H[LFR
                  +ROODGD\YV$OOVWDWH,QVXUDQFH&RPSDQ\&DVH1R'&9             $XJXVW
                   )LUVW-XGLFLDO'LVWULFW&RXUW&RXQW\RI6DQWD)H6WDWHRI1HZ0H[LFR
                  1RUWK&DUROLQD,QGXVWULDO&RPPLVVLRQ+HDULQJUHJDUGLQJ6RXWKHDVWHUQ                        6HSWHPEHU
                     Regional Medical Center vs. North Carolina Insurance Guaranty Fund
                  8QLYHUVLW\RI:DVKLQJWRQYV&RPELQHG,QVXUDQFH&RPSDQ\RI$PHULFD                         -XO\
                   &DVH1R6($6XSHULRU&RXUWRIWKH6WDWHRI:DVKLQJWRQ
                   IRU.LQJ&RXQW\ ([SHUW'HFODUDWLRQIRU&RPELQHG,QVXUDQFH&RPSDQ\
                     of America
                  &ODUHQGRQYV*HUOLQJ*OREDO5HLQVXUDQFH&RUSRUDWLRQRI$PHULFD                             6HSWHPEHU
                   5HLQVXUDQFH$UELWUDWLRQ
                  7U\JJ+DQVD,QVXUDQFH&RPSDQ\$%DQG%XUOLQJWRQ,QVXUDQFH*URXS                           'HFHPEHU
                     Inc. The Burlington Insurance Company and First Financial Insurance
                  6WDWHRI)ORULGD'HSDUWPHQWRI)LQDQFLDO6HUYLFHVDV5HFHLYHURI&DGXFHXV                  6HSWHPEHU
                     Self Insurance Fund, Inc. vs. The Doctors” Company, Circuit Court of
                   WKH6HFRQG-XGLFLDO&LUFXLW/HDQ&RXQW\)ORULGD&DVH1R&$
                   &KLFDJR,QVWLWXWHRI1HXURVXUJHU\DQG1HXURUHVHDUFK0HGLFDO*URXS6&2FWREHU
                   ³&,11´ YV)UHG*HLVOHU0'$UELWUDWLRQ
                  )ORULGD:LQGVWRUP8QGHUZULWLQJ$VVRFLDWLRQYV86$                                        -XQH
                   &DVH&9:6:&6

                 Insurance consultants on regulation, restructuring & insolvency, litigation, and public policy
    Case 1:18-cv-00566-TJM-CFH Document 176-4 Filed 02/28/20 Page 48 of 78
6                ([SHUW7HVWLPRQ\ &RQW¶G
                  $VVXUDQW5HLQVXUDQFHRI7XUNV &DLFRV/WG DND$VVXUDQW5H                             6HSWHPEHU
                     Fitch National Reinsurance Company, Ltd., Tico Reinsurance, Ltd.,
                     and SoCo Reinsurance, Ltd.
                  5HKDELOLWDWLRQRI$PHULFDQ0XWXDO5HLQVXUDQFH&RPSDQ\YV(OHFWULF                          6HSWHPEHU
                   0XWXDO/LDELOLW\,QVXUDQFH&RPSDQ\
                   ,QWKH6XSUHPH&RXUWRI%HUPXGD&RPSDQLHV :LQGLQJXS                                    1RYHPEHU
                   1RRI(OHFWULF0XWXDO/LDELOLW\,QVXUDQFH&RPSDQ\/WG
                  8QLWHG6WDWHV'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI2KLR1HLO6WDQLFK                       'HFHPEHU
                   DQG%REELH-HDQ6WDQLFKDQG'DQWH)UH]]DYV7UDYHOHUV3URSHUW\
                     Casualty Insurance Company
                  6XSHULRU&RXUWRI1HZ-HUVH\1R/,02,QGXVWULHV,QF                           $SULO
                     vs. Transamerica Corporation, et al.
                  8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH1RUWKHUQ'LVWULFWRI,OOLQRLV(DVWHUQ $XJXVW
                   'LYLVLRQ(TXLW\5HVLGHQWLDOYV5R\DO6XUSOXV/LQHV,QVXUDQFH&RHWDO
                  8QLWHG6WDWHV'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI2KLR                $XJXVW
                   1R&91HLO6WDQLFKDQG%REELH-HDQ6WDQLFKYV'DQWH)UH]]D
                     Travelers Property Casualty Insurance Company and The Standard
                     Fire Insurance Company
                  8QLWHG6WDWHV'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI,OOLQRLV(DVWHUQ      6HSWHPEHU
                     Division, No. 06C3339, Jack G. Brown, an individual and Jack Brown Buick,
                     Inc. vs. New York Life Insurance Company, a New York Corporation, and
                   &XUWLV6FKXOW]LQGLYLGXDOO\DQGGED6FKXOW])LQDQFLDO*URXS
                  8QLWHG6WDWHV'LVWULFW&RXUW6RXWKHUQ'LVWULFWRI1HZ<RUNYV'DYLG(:                  'HFHPEHU
                   /LQHVHWDO2QH%HDFRQ$PHULFD,QVXUDQFH&RPSDQ\YV'DYLG(:/LQHV
                  8QLWHG6WDWHV'LVWULFW&RXUW6RXWKHUQ'LVWULFWRI1HZ<RUNYV'DYLG(:                  )HEUXDU\
                   /LQHVHWDO2QH%HDFRQ$PHULFD,QVXUDQFH&RPSDQ\YV'DYLG(:/LQHV
                   86'LVWULFW&RXUWRI1-&9-$3--+(YHUHVW1DWLRQDO                          -XO\
                   ,QVXUDQFH&RDQG(YHUHVW5HLQVXUDQFH&RYV5REHUW6XWWRQHWDO
                   86'LVWULFW&RXUWIRU6RXWKHUQ'LVWULFWRI,OOLQRLV&90-530) 6HSWHPEHU
                   5REHUW-RKQVRQ$QWKRQ\5LFKDUGVRQ6KHLOD6\GQRUDQGRWKHUVVLPLODUO\
                     situated vs. Allstate Insurance Co.
                  867D[&RXUW6WDWH)DUP0XWXDO$XWRPRELOH,QVXUDQFH&RPSDQ\                             1RYHPEHU
                   6XEVLGLDULHVY&RPPLVVLRQHURI,QWHUQDO5HYHQXH
                  86'LVWULFW&RXUW6RXWKHUQ'LVWULFWRI,OOLQRLV&DVH1R0-5                   -DQXDU\
                   /RULH-0DUVKDOO'HEUD5DPLUH]HWDOY+ 5%ORFN7D[6HUYLFHV
                  &RPPRQZHDOWK&RXUWRI3HQQV\OYDQLD'RFNHW1R0'                                -DQXDU\
                     Joel S. Ario v Reliance Insurance Company
                   ,QWKH0DWWHURIWKH5HKDELOLWDWLRQRIWKH6HJUHJDWHG$FFRXQWRI$PEDF 1RYHPEHU
                   $VVXUDQFH&RUSRUDWLRQ&DVH1R&96WDWHRI:LVFRQVLQ'DQH
                   &RXQW\&LUFXLW&RXUWDI¿GDYLWDQGWULDOWHVWLPRQ\RQEHKDOIRIRSSRVLQJ
                     Policyholders Aurelius Capital Management, LP, Fir Tree, Inc., et al and
                     Freddie Mac.
                   86'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI,OOLQRLV(DVWHUQ'LYLVLRQ                      $SULO
                   &DVH1R&9/LEHUW\0XWXDO,QVXUDQFH&RPSDQ\HWDOY
                     American International Group, Inc., et al.
                   86'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI,OOLQRLV(DVWHUQ'LYLVLRQ                       $XJXVW
                   &DVH1RFY)UHG'*HHRQEHKDOIRIKLPVHOIDQGDOORWKHU
                     similarly situated individuals v. State Farm Fire and Casualty Company.


                 Insurance consultants on regulation, restructuring & insolvency, litigation, and public policy
    Case 1:18-cv-00566-TJM-CFH Document 176-4 Filed 02/28/20 Page 49 of 78
7                ([SHUW7HVWLPRQ\ &RQW¶G
                   &RPPLVVLRQHURI,QVXUDQFH6WDWHRI/RXLVLDQDY*UD\,QVXUDQFH&R                        'HFHPEHU
                   1LQHWHHQWK-XGLFLDO'LVWULFW&RXUWIRUWKH3DULVKRI(DVW%DWRQ5RXJK
                   &DVH1R
                   -R$QQ+RZDUGDQG$VVRFLDWHV3&HWDOY'RXJODV&DVVLW\HWDO                         6HSWHPEHU
                   &DVH1RFY(5: ('0R
                   7KULYHQW)LQDQFLDOIRU/XWKHUDQVY&KLDQJHWDO                                         $SULO
                   &DVH1R&*&6XSHULRU&RXUWRIWKH6WDWHRI&DOLIRUQLD
                     for the city and county of San Francisco.
                   ),15$'LVSXWH5HVROXWLRQ$UELWUDWLRQ                                                       2FWREHU
                   1R0RUVRQY2SSHKHLPHU &R,QF
                   7UDYLVHWDOY$OOVWDWH,QVXUDQFH&RPSDQ\                                                -XQH
                   &DXVH1R/7ZHQWLHWK-XGLFLDO&LUFXLW6W&ODLU&RXQW\,OOLQRLV
                   -HQNLQVY6DOHP7RZQVKLS+RVSLWDOHWDO                                                  -XQH
                   &DXVH1R/0DULRQ&RXQW\,OOLQRLV

                 3XEOLFDWLRQV
                 7KHIROORZLQJOLVWH[FOXGHVZULWWHQWHVWLPRQ\EHIRUHFRQJUHVVLRQDOFRPPLWWHHVVWDWHOHJLVODWLYH
                 committees, and associations. Also not included are statements and reports to NAIC committees.

                      Michael P. Duncan: “Issues in Insurance – Property and Liability Post-Assessment Guaranty
                       Funds,”$PHULFDQ,QVWLWXWHRI,QVXUDQFH 5HYLHZHU
                      Schacht, J. and Kiverstern, I.: “Cooperation Not Confrontation,”5H$FWLRQV
                      Schacht, J.: “The Scope of Industry Insolvencies,”1RYHPEHU
                      Schacht, J.: “Dealing with U.S. Insolvencies,”0DUFK
                      Schacht, J.: “Corporate Insurance Decentralization Trends,”0DUFK
                     -RKQ(:DVKEXUQDQG-DPHV:6FKDFKW“A Bold Step for Regulation,”%HVW¶V5HYLHZ2FWREHU
                      Schacht, J.: “Requiem for a Ratio,”2FWREHU
                      “NAIC Troubled Insurance Company Handbook,” &KDLUPDQRI'UDIWLQJ*URXS
                      Schacht, J.: “State vs. Federal Regulation,” July, 1991
                      “New Model Law Will Strengthen Financial Exam Process,”7KH([DPLQHU)DOO
                      Schacht, J.: “The Regulation of Reinsurance,”1RYHPEHU
                      Schacht, J.: “Fronting,”$SULO
                      “Report of the Focus Group on Insurer Receiverships,”0D\ 3DUWLFLSDWLQJ'UDIWHU
                      Schacht, J. and Gallanis, P.: “The Interstate Compact as an Effective Mechanism for
                       Insurance Receivership Reform,” Journal of Insurance Regulation, Winter 1993
                      Schacht, J.: “NAIC Should Return to Basics – Accreditation Program Risks Losing Sight
                       of Original Purpose,”%XVLQHVV,QVXUDQFH$SULO
                      Schacht, J.: “NAIC Finances and Funding,”-DQXDU\
                      Schacht, J.: “The NAIC is an Instrumentality of State Government,”0D\
                      Schacht, J.: “The Impact of the Compact,”&RRSHUV /\EUDQG¶V.QRZOHGJHOLQN0D\
                      Schacht, J.: “Capital Enhancement Strategies for Mutual Insurance Companies,” Monograph
                     SUHSDUHGIRU1DWLRQDO$VVRFLDWLRQRI0XWXDO,QVXUDQFH&RPSDQLHVLQ6HSWHPEHUE\
                     3ULFHZDWHUKRXVH&RRSHUVDQG/H%RHXI/DPE*UHHQ 0F5DH FRQWULEXWLQJGUDIWHUDQGUHYLHZHU
                      Schacht, J.: “Public Policy Review of Insurance Market Conduct Examination,”-XO\
                     6WXG\SUHSDUHGIRUWKH,QVXUDQFH/HJLVODWRUV)RXQGDWLRQ 3URMHFW/HDGHU 
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    Case 1:18-cv-00566-TJM-CFH Document 176-4 Filed 02/28/20 Page 50 of 78
8                3XEOLFDWLRQV &RQW¶G
                      Schacht, J. and Manders, J., “Compact Could Be Regulatory Solution,” Business
                     ,QVXUDQFH0D\
                      Schacht, J.: “State Lawmakers Must Drive Regulatory Reform,”%XVLQHVV,QVXUDQFH-XQH
                      Schacht, J. and Klein, R..: “An Assessment of Insurance Market Conduct Surveillance,”
                     -RXUQDORI,QVXUDQFH5HJXODWLRQ)DOO
                      Schacht J.: “NAIC’s Interstate Compact Initiative Should be Supported,” National
                     8QGHUZULWHU-XQH
                      Schacht, J. Testimony Before the Interstate Insurance Receivership Commission at a
                     3XEOLF+HDULQJRQWKH,QWHUVWDWH&RPSDFW0DUFK
                      Schacht, J. and Klein, R. “The Path to Reform – The Evolution of Market Conduct
                       Surveillance Regulation,”-XO\
                     3ULFHZDWHUKRXVH&RRSHUV//3 -6FKDFKW3URMHFW/HDGHU “Reliance Insurance Group –
                       Report on the History and Causes of Insolvency,”$XJXVW
                      Best’s Review (Jerry Capell and James Schacht) “Tied Down” – Article on How Insurance
                       Company Insolvency Laws are Still Mired in Redundancy and High Costs,”-XQH
                      Reinsurance Magazine (Schacht) “Why the US Should Follow the UK’s Lead on
                       Solvent-Scheme Legislation,”2FWREHU
                     $VVRFLDWLRQRI,QVXUDQFHDQG5HLQVXUDQFH5XQRII&RPSDQLHV&RPPXWDWLRQ(YHQW
                       “Reinsurance and Insolvencies – Recollections from the Front Line,”2FWREHU
                      Risk and Insurance Magazine “Failing at Failures,”-DQXDU\
                      Risk and Insurance Magazine “Analyzing the Life Cycle of an Insolvency,”)HEUXDU\
                      Risk and Insurance Magazine “One Long, Long Mission,”0DUFK
                      Risk and Insurance Magazine “Receiving Reform,”$SULO
                     *OREDO5HLQVXUDQFH“Imperfect Solutions,”-XQH
                      NCOIL - “A Study on State Authority: Making a Case for Proper Insurance Oversight,”
                     3UHSDUHGIRUWKH,QVXUDQFH/HJLVODWRUV)RXQGDWLRQ1RYHPEHU
                      “Enhancing the Insurer Resolution Toolbox,” Association of Insurance and Reinsurance
                       Run-Off Companies newsletter, AIRROC Matters,6XPPHU
                      “Alternative Mechanisms for Troubled Companies,”$Q1$,&:KLWH3DSHU&RQWULEXWRU
                     )HEUXDU\
                      Reinsurance and Insolvencies – Recollections from the Front Line,2FWREHU
                      “Fixing What Isn’t Broken – Are International Insurance Regulation Standards
                       Feasible, or Even Desirable?”, $0%HVW5HYLHZ'HFHPEHU
                      “Making a Case for a Strengthened NAIC,” /LIH+HDOWK3UR$SULO
                      The Geneva Association Newsletter, “The Orderly Resolution of Lumbermens,”
                     $XJXVW
                      Auf Weidersehen Pragmatic Insurance Regulation, Life Health Pro, $XJXVW
                     2EVHUYDWLRQVRQWKH865HVROXWLRQ6\VWHPIRU3URSHUW\&DVXDOW\,QVROYHQW,QVXUHUV
                     7KH/XPEHUPDQV0XWXDO,QVXUDQFH*URXS&DVH6WXG\$*HQHYD$VVRFLDWLRQ5HVHDUFK
                     5HSRUW$SULO



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Expert Report of J. Schacht                                                          Exhibit 2

                Exhibit 2: Listing of Additional Publication Since April 2016


James W. Schacht,“Role Review: Is the steady replacement of civil servants in state insurance
departments with contracted employees eroding the integrity of the regulatory system?” Best’s
Review, January 2018.
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                     EXHIBIT 3
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Expert Report of J. Schacht                                                                        Exhibit 3

                             Exhibit 3: Listing of Documents Considered

    Description                                                       Source/Identification
    NRA's1stAmendedComplaintandJuryDemand                       FiledonJuly7,2018
    NRA'sMemoofLawinOppositiontoDefendants'Motionto          FiledonAugust24,2018
    Dismiss
    Defendants'AnswertoNRA's1stAmendedComplaintandJury        FiledonNovember20,2018
    Demand
    PlaintiffsMOLInOppͲMTDAmendedComplaintInPart               FiledonJanuary8,2019
    DeclarationofMatthewL.LevinetoDefs'MtnforProtective      FiledonJanuary8,2019
    Order
    DeclarationofNathanielJ.DorfmantoDefs'MtnforProtective   FiledonJanuary8,2019
    Order
    AffirmationofTanishaEdwards,EsqtoDefs'MtnforProtective   FiledonJanuary8,2019
    Order
                                                                 Documentsproducedby
    EverytownForGunSafetyNRACarryGuardFactSheetand      Defendantswithoutbatesstamp
    LegalAnalysis                                              onJanuary7,2019
                                                                 Documentsproducedby
    2017Ͳ10Ͳ06_AM10_05_EmailfromE.TirschwelltoM.Levine   Defendantswithoutbatesstamp
    RE_Call                                                    onJanuary7,2019
                                                                 Documentsproducedby
    2017Ͳ10Ͳ06_PM01_36_EmailfromE.TirschwelltoM.Levine   Defendantswithoutbatesstamp
    RE_Call                                                    onJanuary7,2019
                                                                 Documentsproducedby
                                                                 Defendantswithoutbatesstamp
    2017Ͳ10Ͳ19_PM05_05_EmailtoE.TirschwellRE_Call          onJanuary7,2019
                                                                 Documentsproducedby
    2017Ͳ10Ͳ24_PM01_36_EmailfromR.LocontetoE.Tirschwell  Defendantswithoutbatesstamp
    RE_                                                         onJanuary7,2019
                                                                 Documentsproducedby
    2017Ͳ12Ͳ08_PM04_15_EmailfromE.TirschwelltoM.Levine   Defendantswithoutbatesstamp
    Fwd_Photos                                                 onJanuary7,2019
                                                                 Documentsproducedby
    2018Ͳ02Ͳ08_AM09_27_EmailfromMichelletoS.DoodyFW_     Defendantswithoutbatesstamp
    Lockton_CarryGuard                                         onJanuary7,2019
                                                                 Documentsproducedby
    2018Ͳ02Ͳ08_PM03_10_EmailfromS.DoodytoW.Scott_Carry Defendantswithoutbatesstamp
    Guard                                                       onJanuary7,2019
                                                                 Documentsproducedby
    2018Ͳ02Ͳ12_AM08_29_EmailfromE.TirschwelltoM.Levine_ Defendantswithoutbatesstamp
    Contactinfo                                                onJanuary7,2019
                                                                 Documentsproducedby
    2018Ͳ02Ͳ15_PM01_04_EmailfromE.TirschwelltoH.Jacobi   Defendantswithoutbatesstamp
    RE_Contactinfo_confidential                               onJanuary7,2019
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Expert Report of J. Schacht                                                                Exhibit 3

                            Exhibit 3: Listing of Documents Considered

    Description                                                   Source/Identification
    2018Ͳ02Ͳ23_PM01_09_EmailfromJ.DonnellantoJ.Regalbuto   Documentsproducedby
    _PressReleaseAttachments_MetLifeEndsDiscountProgram     Defendantswithoutbatesstamp
    withNRA                                                      onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ02Ͳ23_PM01_16_EmailfromR.LocontetoJ.Donnellan     Defendantswithoutbatesstamp
    Re_PressRelease                                             onJanuary7,2019
    2018Ͳ08Ͳ06_AM10_46EmailfromM.VullotoK.SchnollFwd_    Documentsproducedby
    GOVERNORCUOMOSENDSLETTERCALLING                           Defendantswithoutbatesstamp
    ONOTHERGOVERNORSTOFOLLOWNEWYORK'SLEAD                    onJanuary7,2019
    2018Ͳ08Ͳ06_AM11_09_EmailfromM.VullotoK.SchnollFwd_    Documentsproducedby
    GOVERNORCUOMOSENDSLETTERCALLING                           Defendantswithoutbatesstamp
    ONOTHERGOVERNORSTOFOLLOWNEWYORK'SLEAD                    onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_AM09_16_EmailfromJ.ZimmermantoN.             Defendantswithoutbatesstamp
    DorfmanRe_NRA                                               onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoCAInsuranceCommissioner     Defendantswithoutbatesstamp
    DaveJonesreNRACGProgram                                  onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoCTInsuranceCommissioner     Defendantswithoutbatesstamp
    KatharineWadereNRACGProgram                              onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoHICommissionerGordonIto    Defendantswithoutbatesstamp
    reNRACGProgram                                             onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoMAInsuranceCommissioner     Defendantswithoutbatesstamp
    GaryAndersonreNRACGProgram                               onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoMNCommissionerJessica       Defendantswithoutbatesstamp
    LoomanreNRACGProgram                                      onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoNJCommissionerMarlene       Defendantswithoutbatesstamp
    CaridereNRACGProgram                                      onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoNMSuperintendentJohn        Defendantswithoutbatesstamp
    FranchinireNRACGProgram                                   onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoORInsuranceCommissioner     Defendantswithoutbatesstamp
    AndrewStolfireNRACGProgram                               onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoPACommissionerJessica       Defendantswithoutbatesstamp
    AltmanreNRACGProgram                                      onJanuary7,2019
                                                                   Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoRISuperintendentof          Defendantswithoutbatesstamp
    InsuranceElizabethDwyerreNRACGProgram                   onJanuary7,2019
      Case 1:18-cv-00566-TJM-CFH Document 176-4 Filed 02/28/20 Page 56 of 78

Expert Report of J. Schacht                                                                 Exhibit 3

                            Exhibit 3: Listing of Documents Considered

    Description                                                    Source/Identification
                                                                    Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoVACommissionerScott          Defendantswithoutbatesstamp
    WhitereNRACGProgram                                        onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoVTCommissionerMichael        Defendantswithoutbatesstamp
    PieciakreNRACGProgram                                      onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoWADCCommissioner             Defendantswithoutbatesstamp
    StephenTaylorreNRACGProgram                               onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ07_LetterfromNYDFStoWAInsuranceCommissioner      Defendantswithoutbatesstamp
    MikeKreidlerreNRACGProgram                                onJanuary7,2019
    2018Ͳ08Ͳ07_PM04_47_EmailfromS.DoodytoS.HedrickRe_      Documentsproducedby
    ThankyoufromSueHedrickinWAStateInsurance               Defendantswithoutbatesstamp
    Commissioner'sOfficeAttachments_CarryGuardPolicy           onJanuary7,2019
    2018Ͳ08Ͳ07_PM05_16_EmailfromM.VullotoD.Jones_          Documentsproducedby
    regulatortoregulatorcommunicationAttachments_JonesͲCA;   Defendantswithoutbatesstamp
    Lockton;Chubb                                                 onJanuary7,2019
    2018Ͳ08Ͳ07_PM05_18EmailfromM.VullotoM.Kreidler_       Documentsproducedby
    regulatortoregulatorcommunicationAttachments_KreidlerͲ    Defendantswithoutbatesstamp
    WA;Lockton;Chubb                                             onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ08_PM03_46_EmailfromC.SornsontoN.Dorfman        Defendantswithoutbatesstamp
    FW_NYcontactcarryguard                                     onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ08_PM08_48_EmailfromN.DorfmantoC.Sornson        Defendantswithoutbatesstamp
    Re_NYcontactcarryguard                                     onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ17_PM02_44_EmailfromC.SornsontoN.Dorfman_      Defendantswithoutbatesstamp
    OtherFirearmͲrelatedLegalExpensePrograms                    onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ17_PM12_38_EmailfromC.SornsontoN.Dorfman_      Defendantswithoutbatesstamp
    CarryGuard                                                    onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ27_AM09_05_EmailfromJ.LucashuktoV.Grunke_       Defendantswithoutbatesstamp
    NRA_Lockton                                                    onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ27_AM11_51_EmailfromV.GrunketoJ.Lucashuk        Defendantswithoutbatesstamp
    RE_NRA_Lockton                                                onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ27_PM04_11_EmailfromH.JacobitoC.Sornson_       Defendantswithoutbatesstamp
    CarryGuardMaterialsAttachments_8.27.18_NJ_CG_Prod          onJanuary7,2019
                                                                    Documentsproducedby
    2018Ͳ08Ͳ28_PM01_22_EmailfromV.GrunketoJ.Lucashuk        Defendantswithoutbatesstamp
    RE_NRA_Lockton                                                onJanuary7,2019
      Case 1:18-cv-00566-TJM-CFH Document 176-4 Filed 02/28/20 Page 57 of 78

Expert Report of J. Schacht                                                                   Exhibit 3

                             Exhibit 3: Listing of Documents Considered

    Description                                                      Source/Identification
                                                                      Documentsproducedby
    2018Ͳ08Ͳ28_PM01_26_EmailfromJ.LucashuktoV.Grunke          Defendantswithoutbatesstamp
    RE_NRA_Lockton                                                  onJanuary7,2019
                                                                      Documentsproducedby
    2018Ͳ09Ͳ12_PM02_15_EmailfromG.SimontoH.JacobiC           Defendantswithoutbatesstamp
    SomsonRE_CarryGuardMaterials                                 onJanuary7,2019
    2018Ͳ09Ͳ12_PM05_30_EmailfromG.SimontoM.LevineH           Documentsproducedby
    JacobiCSamsonRSchlesingerWLeacheRE_CarryGuard             Defendantswithoutbatesstamp
    MaterialsConfidentialSupervisoryCommunication                 onJanuary7,2019
    2011Ͳ01Ͳ01_LocktonRiskandNRAAmdRestatedInsurance           Willbeproduceduponagreement
    ProgramAgmtͲupdatesAddendaAͲH                                onConfidentialityOrder
    2011Ͳ04Ͳ07_KCSeriesLocktonandNRAInsuranceConsulting        Willbeproduceduponagreement
    ProgramsMgmtAgmtͲupdateAddendumC2017Ͳ09Ͳ18                 onConfidentialityOrder
    2018Ͳ05Ͳ02_NYDFSLocktonConsentOrder                          LocatedontheDFSWebsite
    2018Ͳ05Ͳ07_NYDFSChubbandILUnionInsCoConsentOrder        LocatedontheDFSWebsite
    2018Ͳ07Ͳ02AmericanFamilyLifeInsuranceCompany                LocatedontheDFSWebsite
    2018Ͳ07Ͳ02TransamericaLifeinsurance                           LocatedontheDFSWebsite
    2018Ͳ09Ͳ07SelectiveInsuranceCompany                           LocatedontheDFSWebsite
    2018Ͳ11Ͳ09OscarInsuranceCompany                               LocatedontheDFSWebsite
    2018Ͳ12Ͳ05NationalIntegritylifeInsurance                     LocatedontheDFSWebsite
    2018Ͳ12Ͳ20_NYDFSLloydsConsentOrder                           LocatedontheDFSWebsite
    2019Ͳ01Ͳ09ArchInsuranceCompany                                LocatedontheDFSWebsite
    2019Ͳ01Ͳ09NationalunionFireInsurance                         LocatedontheDFSWebsite
    2019Ͳ01Ͳ28MetLifeConsentOrder                                LocatedontheDFSWebsite
    2019Ͳ02Ͳ04_NYDFSLocktonSupplementalConsentOrder             LocatedontheDFSWebsite
    2015Ͳ01Ͳ14_NYDFSDisciplinaryActionsͲ(Lockton)               LocatedontheDFSWebsite
    2016Ͳ01Ͳ07_NYDFSDisciplinaryActionsͲ(WillisofNY)          LocatedontheDFSWebsite
    2018Ͳ05Ͳ25_NYDFSDisciplinaryActionsͲ(Marsh)                 LocatedontheDFSWebsite
    2018Ͳ04Ͳ19_DFSMemore                                           PublicDocument
    Guidance_Risk_Management_NRA_Gun_ManufacturersͲ
    Insurance
    McKinney’sInsuranceLaw§1101Definitionsdoingan             NewYorkLegislation
    insurancebusiness
    McKinney’sInsuranceLaw§1102Insurerslicenserequired        NewYorkLegislation
    issuance
                                                                      NewYorkLegislation
    McKinney’sInsuranceLaw§1113Kindsofinsuranceauthorized
                                                                      NewYorkLegislation
    McKinney’sInsuranceLaw§2101Definitions
    McKinney’sInsuranceLaw§2104Insurancebrokers;licensing     NewYorkLegislation
    McKinney’sInsuranceLaw§2105Excesslinebrokers;licensing   NewYorkLegislation
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Expert Report of J. Schacht                                                                       Exhibit 3

                              Exhibit 3: Listing of Documents Considered

    Description                                                       Source/Identification
    McKinney’sInsuranceLaw§2107Insuranceconsultants;            NewYorkLegislation
    licensingandduties
    McKinney’sInsuranceLaw§2116Insurancebrokers;                NewYorkLegislation
    commissions
    McKinney’sInsuranceLaw§2117Actingfororaiding              NewYorkLegislation
    unlicensedorunauthorizedinsurer
    McKinney’sInsuranceLaw§2118Excesslinebrokers;duties       NewYorkLegislation
    McKinney’sInsuranceLaw§2119Insuranceagents,brokers,        NewYorkLegislation
    consultants,lifesettlementbrokers,andtitleininsurance
    agents;writtencontractforcompensation;excesscharges
    prohibited
    McKinney’sInsuranceLaw§2121Brokerauthorizedtoreceive      NewYorkLegislation
    premium,when
    McKinney’sInsuranceLaw§2122Advertisingbyinsurance          NewYorkLegislation
    producers
    McKinney’sInsuranceLaw§2128Commissionandfeesharing        NewYorkLegislation
    prohibited
    McKinney’sInsuranceLaw§2129Dutytohaveanagentor          NewYorkLegislation
    brokerateachplaceofbusiness
    McKinney’sInsuranceLaw§2130Excesslineassociation           NewYorkLegislation
    McKinney’sInsuranceLaw§2324Rebatinganddiscrimination       NewYorkLegislation
    McKinney’sInsuranceLaw§3420.Liabilityinsurance;standard    NewYorkLegislation
    provisions;rightofinjuredperson
    McKinney’sInsuranceLaw§3425Certainproperty/casualty         NewYorkLegislation
    insurancepoliciescancellationandrenewalprovisions;agents’
    contractsandbrokers’accounts
    McKinney’sInsuranceLaw§3426Commerciallinesinsurance        NewYorkLegislation
    cancellationandrenewalprovisions
    McKinney’sInsuranceLaw§5911Insuranceagentsinsurance        NewYorkLegislation
    brokersandexcesslinebrokers
                                                                       NewYorkLegislation
    NYCRRT.11,Ch.II,Pt.27,Refs&AnnosRegulation41
    NYCRRT.11,Ch.XII,Pt.301,Refs&AnnosRegulation134        NewYorkLegislation
    NYCRRT.11,Ch.V,Subch.B,Pt.153,Refs&AnnosRegulation    NewYorkLegislation
    135
                                                                       PublicDocument
    2018Ͳ09Ͳ11_CAIns.CommNRAOrdertoCeaseandDesist
    2002Ͳ01Ͳ01_CAIns.CodeSection1631Necessityoflicense         CaliforniaLegislation
                                                                       CaliforniaLegislation
    2002Ͳ01Ͳ01_CAIns.CodeSection1631.5Constructionofarticle
    2006Ͳ01Ͳ01_CAIns.CodeSection12921.8Ceaseanddesist          CaliforniaLegislation
    orders
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Expert Report of J. Schacht                                                                       Exhibit 3

                              Exhibit 3: Listing of Documents Considered

    Description                                                      Source/Identification
    CAIns.CodeSection35Transactdefined                         CaliforniaLegislation
                                                                      PublicDocument
    2018Ͳ04Ͳ03WAStateOICceaseanddesistNo.18Ͳ0109
    2009Ͳ07Ͳ26_RevisedCodeofWashingtonState48.02.080            WashingtonLegislation
    Enforcement
    2011Ͳ07Ͳ27_RevisedCodeofWashingtonState48.17.060            WashingtonLegislation
    Licenserequired
    2009Ͳ07Ͳ01_RevisedCodeofWashingtonState48.17.063            WashingtonLegislation
    UnlicensedactivitiesͲͲActscommittedinthisstateͲͲSanctions
    RevisedCodeofWashingtonState48.04.010HearingsͲͲWaiverͲ      WashingtonLegislation
    ͲAdministrativelawjudge
                                                                      WashingtonLegislation
    WashingtonAdministrativeCode284Ͳ02Ͳ070Hearings
    WashingtonAdministrativeCode10Ͳ08Ͳ110Adjudicative            WashingtonLegislation
    proceedingsͲFilingandserviceofpapers
                                                                      NationalAssociationofInsurance
    NAICStaff,MARKETREGULATIONHANDBOOK(2010)                    Commissioners
    NEWYORKSTATEINSURANCEDEPARTMENT,EnterpriseRisk             NewYorkStateInsurance
    ManagementExaminationProgram                                   Department
    NEWYORKSTATEINSURANCEDEPARTMENT,Examinationof              NewYorkStateInsurance
    InsuranceCompanies,ASeriesofLecturesDeliveredbeforethe   Department
    ExaminersoftheNewYorkStateInsuranceDepartment;
    PreparedundertheDirectionofDeputySuperintendent
    AdelbertG.Straub,Jr.,NewYork,(Vol.61953Ͳ1955)


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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK


 NATIONAL RIFLE ASSOCIATION OF                       §
 AMERICA,                                            §
                                                     §
                 Plaintiff,                          §
                                                     §    CIVIL CASE NO. 18-CV-00566-TJM-
 v.                                                  §    CFH
                                                     §
 ANDREW CUOMO, both individually and                 §
 in his official capacity; MARIA T. VULLO,           §
 both individually and in her official               §
 capacity; and THE NEW YORK STATE                    §
 DEPARTMENT OF FINANCIAL                             §
 SERVICES,                                           §
                                                     §
                 Defendants.                         §



             REBUTTAL EXPERT WITNESS REPORT OF JAMES W. SCHACHT



                                                I.

                                        INTRODUCTION

         I have been requested by the law firm of Brewer, Attorneys & Counselors, legal counsel to

the National Rifle Association of America (the “NRA”), to provide a rebuttal expert report to those

opinions contained in the expert reports of Peter Kochenburger (“Kochenburger”) and Kevin

McCarty (“McCarty”) (collectively, “Defendants’ Experts”). 1 Defendants’ Experts are engaged by



         1
         I have known Mr. Kochenburger for several years as he revealed in his report. I have
enjoyed working with him in the past and respect his academic expertise to develop an educational
program for an aspect of insurance regulation. As he discloses, he is not now, nor has he ever been
an insurance regulator. His knowledge of insurance regulation comes not from “sitting in a
regulatory chair” but from indirect experience. With regard to Mr. McCarty, I have also known
him for many years. It is important to note that the Florida insurance regulatory scheme is different
from other states.


                                                 1
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the New York State Office of Attorney General who represents New York Governor Andrew

Cuomo, in his official capacity (“Cuomo”), Maria T. Vullo, in her official capacity as

Superintendent of the New York State Department of Financial Services (“Vullo”), and the New

York State Department of Financial Services (“NYDFS”) (collectively, “Defendants”). 2

       My experience and qualifications, compensation, publications, prior expert appearances,

and documents reviewed to form my opinions are set forth in my expert report dated March 19,

2019 (“Report”).

       I have closely reviewed the reports of Kochenburger and McCarty and offer my

commentary on their positions in succeeding pages of this rebuttal report. No inference of

agreement should be drawn if I do not address an issue raised by the Defendants’ Experts in this

rebuttal expert report.

                                              II.

                          SUMMARY OF MY REBUTTAL OPINIONS

       I disagree with Defendants’ opinion that NYDFS’s actions concerning the NRA were

appropriate and justified for the reasons set forth in my Report, as well as the following:

       A. Defendants’ Experts opine that the recent events in Parkland and Las Vegas motivated

           NYDFS to issue the NRA Guidance Letters to entities NYDFS regulates. They also

           contend that NYDFS possesses the regulatory authority to issue those guidance letters.

           I disagree with this position for several reasons, but principally, gun violence and gun

           control — while important — are not insurance regulatory issues.




       2
         Mr. McCarty’s report states engagement by the New York State Office of the Attorney
General, but Mr. Kochenburger does not specifically identify by whom he was retained. I have
assumed it is the New York State Office of the Attorney General.


                                                    2
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   B. Defendants’ Experts believe that an insurance regulator should require regulated

      entities to address “reputational risks”; and therefore, the NRA Guidance Letters are

      proper. I disagree. The Guidance Letters did not address an insurance issue and

      departed from usual and customary practice in several ways, most importantly by

      naming one specific affinity group customer.

   C. Defendants’ Experts state that the propriety of NYDFS’s action was subsequently

      confirmed by the consent orders entered into against Chubb Group Holdings, Inc.

      (“Chubb”), Lockton Affinity, LLC and Lockton Companies, LLC (collectively,

      “Lockton”), and Certain Underwriters at Lloyd’s (“Lloyd’s”) (collectively, “Consent

      Orders”). I disagree, in that the Consent Orders are unusual and inconsistent with

      customary insurance regulatory practices. Defendants’ Experts disagree with my

      assertions that NYDFS’s review of the NRA-sponsored insurance programs deviated

      from established regulatory norms. I do not agree for all the reasons stated in my

      Report, as well as the further explanations presented herein. I am well aware of an

      insurance regulator’s powers to conduct investigations and their authority to employ

      that power to address fraudulent insurance schemes, looting of an insurer’s assets and

      other serious violations—none of which are present in this instance.




                                          3
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                                              III.

                          BASIS FOR MY REBUTTAL OPINIONS 3

        The opinions of Defendants’ Experts do not directly confront and respond to the important

issues in this matter, are not supported by the evidence, and, in some instances, are superfluous or

contradictory. 4

A.      Cuomo’s April 2018 Press Release.

        As stated in my Report, based upon my 50 years of experience in the insurance regulation

and enforcement sector—a governor-appointed head of a state insurance regulatory and

enforcement agency, thirty years as a state government insurance regulator, and as an active

observer in the National Association of Insurance Commissioners (“NAIC”) for an additional

twenty years—I find the Cuomo Press Release extraordinary and highly unusual because the

Governor ordered NYDFS to advise the entities it regulates to review their relationship with the

NRA. Neither of Defendants’ Experts directly addresses this issue, nor can they. Kochenburger

was never a state insurance regulator. While McCarty acted as head of Florida’s Office of

Insurance Regulation, he was appointed by an independent state body 5 and cannot opine as to the

appropriateness of a state governor’s directive to his insurance regulatory body. 6

B.      NYDFS Guidance Letters.



        3As part of my assignment, I have reviewed and considered the documents listed in
Exhibit A.
       4
         The McCarty Report does not explain the basis or details for his opinions.
        5
        McCarty was appointed by the Florida Financial Services Commission, which is
comprised of the Governor, Attorney General, Chief Financial Officer and the Agriculture
Commissioner of the State of Florida.
        6
         Florida is unique from other state insurance regulatory bodies since they bifurcate
insurance regulation between the Office of Insurance Regulation and the Florida Department of
Financial Services, which is supervised by the Chief Financial Officer of the State of Florida.6
Accordingly, McCarty did not have authority over all aspects of insurance regulation, in particular

                                                 4
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       Defendants’ Experts opine that guidance letters, including the guidance letters issued by

Vullo on April 19, 2018, concerning the NRA (“NRA Guidance Letters”), constitute prudent

advice of the type that regulators routinely provide to entities they regulate. Indeed, they believe

that the NRA Guidance Letters exemplify NYDFS’s activism in evaluating and regulating

insurance operations. 7 Defendants’ Experts cite to several other regulatory guidance letters issued

by NYDFS as examples of regulatory initiatives. 8 A close review of the ten letters cited 9 reveal

substantial differences with the NRA Guidance Letters, which Defendants’ Experts do not explain

or discuss:

       x      Nearly all letters reflect a willingness to further answer questions that may arise as a

              result of the circular letter and its contents. The NRA Guidance Letters require “prompt

              action,” rather than offering to answer any questions in connection to the guidance. As

              a result, the NRA Guidance Letters stand out as more urgent than conventional circular

              letters. Further, the NRA Guidance Letters failed to cite to any statute or regulation.

              While all other circular letters referenced a statute and/or regulation for which

              clarification was being provided, the NRA Guidance Letters provided no such statute

              or regulation.

       x      The NRA Guidance Letters are addressed to CEOs or equivalents of all insurers doing

              business in the State of New York. The other letters are directed to types of insurers

              and not a titled individual at the insurer.


to this case, insurance agents and insurance consumer services, including consumer complaints.
Rather, the Florida Department of Financial Services supervised the aforementioned areas.
       7
         See Expert Report of Peter Kochenburger, dated May 3, 2019, at 5–8 (“Kochenburger
Report”); Expert Report of Kevin McCarty at 15 (“McCarty Report”).
       8
           See Kochenburger Report at 7.
       9
           See Kochenburger Report at 7, ¶16.


                                                     5
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       x     Only the NRA Guidance Letters identify a specific customer/client entity, whereas the

             other circular letters or similar communications speak more generally.

       x     The NRA Guidance Letters addressed gun control and reputation risk. None of the

             other letters addressed reputational risk, especially purported reputational risk arising

             from a customer’s political speech.

       Given the stark differences between the examples highlighted by Defendants’ Experts and

the NRA Guidance Letters, my opinion is further bolstered that the NRA Guidance Letters do not

exemplify the usual and customary practice of an insurance regulatory agency—even NYDFS.

Further, the NRA Guidance Letters did not address an insurance issue, but rather the political and

social controversies surrounding gun control. The reference to “reputational risk” in the NRA

Guidance Letters 10 appears to be an attempt to create some link to an insurer’s enterprise risk

management program (“ERM”). I am aware of no other instance in which a state insurance

regulator attempted to invoke ERM in connection with a customer’s political views or speech.

       Mr. Kochenburger states that the NRA Guidance Letters “simply cautioned regulated

entities on possible reputational risks associated with business relationships with the NRA,”11

implying that it is routine and customary for NYDFS or any other state insurance regulator to issue

guidance on the reputational risk associated with a particular entity. Yet, there is a reason that Mr.

Kochenburger offers no other instance where NYDFS, its predecessor agency, or any other state

insurance regulator issued a communication concerning singling out a single customer, especially

based on its political or social views. The NRA Guidance Letters are the only instance where an




       10
            Further discussed, supra Section III(C).
       11
            Kochenburger Report at 4–5, ¶ 9.


                                                   6
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insurance regulatory body singled out a single customer as a reputational risk—and certainly the

only instance where a regulator has done so based on the customer’s political speech.

C.      Reputational Risk

        Defendants’ Experts discuss ERM and Own Risk Solvency Assessment (“ORSA”), 12

which is the ERM program applicable to insurers, including those operating in New York. Unlike

other insurance statutes, ORSA is not proscriptive as to the details and content of the insurer’s risk

management program. Rather, the insurer determines what is considered a risk within its business

model. It is important to note that ORSA is a surveillance tool to guide on-site, risk-focused

examinations and not a requirement that an insurer either passes or fails. Contrary to Mr.

McCarty’s assertions, the ORSA statute applies to only certain insurers, 13 but not other entities

involved in insurance distribution and administration, such as insurance producers, agents and

brokers, third-party administrators, managing general agents, or affinity group sponsors. ORSA

is only applicable to entities of a certain size. More relevant, out of the three entities impacted by

the Consent Orders, ORSA would apply only to Chubb.                 Further, all ORSA reporting is

confidential and not available for public inspection because disclosure would reveal competitive

information and business and trade secrets.

        I have served as chair of the board of directors Risk Committee of the U.S. subsidiaries of

a large international group of insurers. This group was subject to the Solvency II requirements on

which ORSA is based. The group’s ERM program was built to satisfy both Solvency II and ORSA


        12
          The word “Own” in the title of this program is particularly relevant since it was
represented to insurers that they should assess their own risks based on factors emanating from
their own business model and strategy.
        13
          In order to be subject to the ORSA law, an insurer’s direct annual premium volume must
exceed $500 million or in the case of a group of affiliated insurers it must be greater than $1 billion.
The law applies to only domestic insurers. Accordingly, ORSA is only applicable to Chubb, and
not Lloyd’s and Lockton.


                                                   7
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requirements. As a Risk Committee, we did not directly consider “reputational risk” as a part of

our risk management program. Rather, we effectively identified and addressed other risks that

would mitigate or eliminate the possibility of an event that would impact our reputation. For

example, failure by an insurer to timely, properly adjudicate claims made under its policies can

adversely impact the insurer’s reputation. To manage that reputational risk, we identified various

threats and risks that might interfere with adjudication. Then, controls and procedures were

enhanced to make sure that insurance claims were handled in accordance with governing contracts,

applicable law, and best practices.


       I have reviewed the ORSA reports of other insurers on behalf of an insurance regulator.

Additionally, as member of the boards of directors of several other insurers, I have overseen the

development of risk-management programs. In both instances, we did not identify “reputational

risk” as a direct element of our ERM program. This is not to say “reputational risk” is not

something an entity might be concerned about. In this day and age, as Mr. Kochenburger notes,

“bad news” can travel in seconds through the internet and social media. However, it is strongly

inconsistent with regulatory norms and practices for the regulator itself to create and stoke “bad

news,” especially “bad news” that singles out and stigmatizes a single customer purchasing an

insurance arrangement in the marketplace. Based on my experience, no insurer would organically

consider an entity’s political views or speech to constitute “reputational risks” that ought to impact

its ERM or ORSA program. Explicit prodding from a regulator, however, could change the

insurer’s calculus.

       Mr. McCarty expresses the opinion that a company engaged in the business of insurance

in any capacity should, as a part of its risk assessment process, look at emerging public policy




                                                  8
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trends in the areas of social controversy. 14 However, in this instance, NYDFS—an insurance

regulator—determined the social issue for which insurers should be concerned. It also determined

which entities should be disfavored—and disassociated with—and delineated those entities based

explicitly on their viewpoint (“gun promotion”). For these and other reasons, NYDFS’s conduct

exceeded the scope, responsibility, and discretion typically exercised by an insurance regulator. 15

       Mr. Kochenburger attempts to support his position on the propriety of NYDFS Guidance

Letters by referencing other events that purportedly demonstrate that the reputational risks to

insurers and brokers in the NRA insurance program was a real issue. In my opinion, the fact that

some major corporations voluntarily ended their business relationships with the NRA would not

customarily justify a regulator getting involved and urging its regulated entities to join a boycott

or blacklisting effort. As a matter of general custom and practice, insurance regulators operate

within the parameters of the statutes that grant their regulatory authority and enforce the policies

and priorities adopted by the legislature. If the state government decides to place its thumb on the

scale regarding a political or social controversy, the insurance regulator would typically follow the

legislature’s lead. Accordingly, despite high-profile recent tragedies and related public criticism

of the NRA, it is unusual and questionable that NYDFS acted against the NRA because NYDFS

appears to have acted based on concerns (here, concerns relating to Second Amendment speech)

that are not customarily within the purview of an insurance regulator.

        Mr. Kochenburger states that “climate change” reporting is another example of NYDFS’s

involvement in other controversial social and political issues similar to gun control. While I am

not an expert on the Climate Risk Disclosure Survey reporting form, I understand that New York



       14
            See McCarty Report at 17.
       15
            The discretion of an insurance regulator is discussed in Section IV.


                                                  9
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and a few other states participate in this program, which asks insurers to describe how they assess

and manage risks relating to climate change. However, based on my experience, the NRA

Guidance Letters are entirely different than the circular letter on climate change. The NAIC

Climate Risk Disclosure Survey Questions and Guidance document published online provides

additional details, explaining that insurers are encouraged to provide “quantitative information

where it offers additional clarity on trends in the intensity or attenuation of natural hazards, insured

losses, investment portfolio composition, policyholder risk reduction or improvements in

computer modeling.” 16 This makes sense, and is consistent with my experience. If insureds are

reporting, or insurance companies are modeling, increased property-damage claims from rising

sea levels (for example), this is of direct financial concern to the insurance industry. It is, therefore,

within the customary purview of an insurance regulator.

        Notably, however, the NAIC does not caution insurers against providing coverage to

organizations that engage in disfavored political speech regarding the climate change issue.

Analogously, in this case, Defendants’ Experts do not identify any systemic solvency threats to

the insurance industry that arise from allowing the NRA to promote gun rights. A more direct

analogy to the climate program would arise if NYDFS asked insurers to explain whether their

quantitative models forecast increased costs associated with gun crime. That is not what occurred

here. Nor do Defendants’ Experts identify any case where a state insurance regulator singled out

a not-for-profit advocacy group for its climate-related speech, then cautioned insurers that doing

business with the climate-advocacy group could pose “reputational risks” and, consequently,



        16
           Climate Risk Disclosure Survey Guidance, Reporting Year 2018, available at
http://www.insurance.ca.gov/0250-insurers/0300-insurers/0100-
applications/ClimateSurvey/upload/QUESTIONS-AND-GUIDELINES-CLIMATE-RISK-
SURVEY-REPORTING-YEAR-2018.pdf (last visited May 17, 2019).


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“prompt action” should be taken to discontinue any business arrangements with the target

organization.

       Mr. Kochenburger states that reputational risk is a significant business and regulatory

concern and that it extends to a company’s clients and business partners. 17 I do not believe I

understated the importance of reputation and the value of an insurer’s brand in my Report.

However, “reputational risk” for private insurance-industry firms generally refers to the firm’s

reputation among customers for integrity and reliable payment of claims. Here, the NRA is a

nonprofit organization that advocates for the Second Amendment. The NRA is generally viewed

favorably by its members. Indeed, NRA members have purchased NRA-endorsed products for

nearly 20 years. The NRA’s valuable reputation among its members and supporters is the very

reason that NRA-endorsed insurance products are profitable to the insurance community.

Conversely, those opposed to the NRA’s Second Amendment advocacy will have an unfavorable

view of the NRA’s reputation, irrespective of an offer of insurance. Thus, from an insurer’s

perspective, it does not create a reputational risk to insure NRA members that desire NRA-

endorsed products. Rather, failing to offer insurance coverage to NRA members would result in a

business opportunity loss.

       Mr. Kochenburger is incorrect in his assertion that I do not recognize the possibility of

reputational risk arising from an insurer’s business partners and clients. 18 I have noted in both of

my reports that I understand reputational risk. Yet, where an insurance commissioner speaks

unfavorably about an entity through an official, public communication, the commissioner creates

an artificial reputational risk. Vullo created an artificial reputational risk when she specifically



       17
            See Kochenburger Report at 12, ¶ 29.
       18
            See Kochenburger Report at 12, ¶ 28.


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named the NRA, rather than any other gun promotion organization in New York. NYDFS could

have issued a general statement that insurers should be conscientious and consider how business

partners and insurance clients may impact its reputation. NYDFS, however, went beyond that and

specified a particular political and social issue and the advocacy organization at the forefront of

the political and social issue, stating in the NRA Guidance Letters that the entity had been singled

out on the basis of its political “gun promotion” speech.

D.      NYDFS Investigation

        Mr. Kochenburger concludes that NYDFS did not pursue Chubb, Lockton, and Lloyd’s

because of their relationship with the NRA but, rather, based upon clear violations of New York

law. 19 However, Mr. Kochenburger offers no basis for this conclusion other than the Consent

Orders executed months after the start of the investigation, of the investigation into Chubb,

Lockton, and Lloyd’s. Indeed, there is no indication that NYDFS’s investigation arose based on

a discovery that Lockton, Chubb, and Lloyd’s had violated the law—rather than based on the

discovery that these entities did business with the NRA.

        Mr. Kochenburger stated that Mr. McCarty would address this matter in more detail, yet I

did not find such information in the McCarty Report. Mr. Kochenburger does not indicate in his

compilation of “Information Reviewed” that he inspected NYDFS regulatory files; thus, he has no

basis for opining regarding the reason for NYDFS’s commencement of its investigation. As stated

in my expert report, based upon my review of the evidence produced and my experience in the

insurance-regulatory sector, I believe it can be inferred that the prime target of NYDFS was the

NRA and the secondary targets were Chubb, Lockton, and Lloyd’s. This is consistent with the

fact that Lockton appears to have paid far more significant penalties, and acceded to more


        19
             See Kochenburger Report at 1–2, ¶ 1.


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significant restrictions, with regard to the NRA than non-NRA programs. With respect to Chubb

and Lloyd’s, there is no indication that any regulatory action was taken at all that targeted identical

violations exhibited by non-NRA programs.

       Mr. McCarty states in his report that states are moving away from market conduct

examinations, since they were not designed to identify and address significant consumer protection

issues. I disagree, and I am shocked that he would be so dismissive of the market conduct

surveillance and examination system of insurers that exists today. As a former NAIC President, 20

Mr. McCarty knows the NAIC has promulgated a two-volume set of over 1000 pages entitled

“Market Regulation Handbook” (the “Handbook”). The Handbook provides guidance to state

insurance departments on assessing the insurance marketplace, as well as assessing the compliance

of individual insurers, insurance producers, and administrators with state insurance laws and

actions to be taken if problems are identified. Ultimately, the goal of the Handbook is to conduct

uniform, standardized reviews of an insurer’s practices. Thus, it covers precisely the matters at

issue with the NRA-sponsored group insurance program.

       As Mr. McCarty knows, the NAIC is the standard setter for insurance regulation in the

United States. Contrary to the Defendants’ Experts’ assertions, 21 my statements concerning

market conduct examinations and investigations addressing violations are in line with the best

practices set forth by the NAIC. There was not a legitimate reason for NYDFS to deviate from

these practices.

       I concur with Mr. Kochenburger that the NAIC is not a regulatory body and does not have

regulatory power, even though its members are all regulators.            However, the NAIC does


       20
           The NAIC is the National Association of Insurance Commissioners, an association of
the chief insurance regulators of every state and territory.
       21
            See Kochenburger Report at 8, ¶ 18, and 9, ¶¶ 20-21; McCarty Report at 4, 6.


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promulgate best practice handbooks and manuals and issues model laws and regulations, all of

which are typically enacted in state insurance laws.

         As stated in my Report, the fact that the alleged violations did little or no harm to consumers

meant that there was no need for the aggressive treatment and deviation from the standards and

best practices set forth by the NAIC. Notably, Mr. McCarty indicates in his Report that the State

of New York chose to allocate its “limited resources” to NYDFS Investigation in order to prevent

“irreparable harm to the reputation of the regulated entities,” as well as “prevent the loss of life.”22

Again, Defendants’ Reports lack any legitimate indication of how the Carry Guard program would

result in consumer harm or financial harm to the entities regulated by NYDFS. Further, Mr.

McCarty provides no specific basis for these offensive statements.

         The consumer protection initiatives described in Mr. McCarty’s report are not relevant to

this matter since they all are instances where significant abuses of insurance consumers occurred. 23

E.       Consent Orders

         Mr. Kochenburger disagrees with my opinion that the Consent Orders were questionable,

unusual, and inconsistent with customary insurance regulatory practice for the reasons I have cited

in my Report. As previously stated, none of the alleged violations are associated with consumer

harm, an important consideration, especially as it relates to the amount of civil penalties.        Mr.

Kochenburger’s sole basis for his disagreement with me is that New York specifically prohibits

coverage for defense costs in a criminal proceeding, as well as coverage for intentionally caused

injuries. 24




         22
              See McCarty Report at 3.
         23
              See McCarty Report at 4-6.
         24
              See Kochenburger Report at 9-10, ¶ 23.


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       Surplus lines insurance law is a complex subject and is ever-changing. Requirements vary

substantially from state to state, and, in some instances, applicability is not always clear. New

York laws and regulations are particularly thorny. Contrary to Mr. Kochenburger’s opinion, some

may view the surplus lines market as a place to export risks that cannot be written in the admitted

market because of statutory prohibitions. Historically, one of the reasons for the surplus lines

market is to provide desired consumer coverage that is absent in the admitted market. Where

inadvertent violations occur, the regulatory response must be measured and recognize the realities

of a situation; often, remediation is favored. This is the use of regulatory discretion that is usual

and customary. For example, both California and Washington considered the Carry Guard

program, but responded in a more tempered manner than NYDFS. Each issued a cease and desist

order to the NRA based on an allegation that the NRA was soliciting insurance business in the

state without an insurance producer’s license. In neither instance did the insurers incur substantial

fines or punitive measures. Indeed, both states’ approaches were fundamentally remedial—

directing the NRA to cease and desist from the alleged conduct. While Kochenburger intimated

that NYDFS response was not political, 25 it is clear that more measured alternatives were available

to NYDFS to remedy any perceived issues with the Carry Guard program. While other regulators’

approach in remedying the alleged insurance violations may be too “quiet” for Kochenburger, such

approach effectively accomplished a regulatory purpose without politicizing alleged insurance

violations.




       25
            See Kochenburger Report 11, ¶ 25.


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                                                 IV.
                               Regulatory Authority and Discretion

        Mr. Kochenburger states: “Insurance law and regulation have long reflected public policy

and social goals beyond the minimum regulatory standards required in a state’s insurance code.” 26

This view does not comport with my understanding of insurance regulation formed after more than

fifty years of professional experience, as well as drafting and implementing numerous insurance

statutes.

        First, each state legislature has authorized the supervision of insurance transactions and

institutions by a governmental agency headed by an administrative officer, called an insurance

director, insurance commissioner, or superintendent, depending on the state involved. In some

states, this officer is appointed by a state governor, elected by the citizens of the state, or appointed

by the head of a super agency that has jurisdiction over various financial and other institutions.

The administrative officer charged with insurance regulation does so with powers and authorities

granted by the state legislature—not the political goals of the executive. These laws reflect the

public policy and social goals of the state, and they form the nature and scope of the state’s

insurance regulatory body. These laws are not minimum standards, nor is there any other state

authority that provides additional powers to meet other public policy goals.

        Insurance regulation primarily exists to protect the public welfare, but such regulation must

be performed within the requirements set forth by the state legislature. These laws give the

administrative officer a great deal of discretion in certain areas such as licensing of insurers,

approval of corporate transactions, and determinations as to when to examine an insurer to name

only a few examples. But it does not include, for example, initiating regulatory action based on a



        26
             Kochenburger Report at 1, ¶ 1(a).


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controversial social issue which the legislature has not yet addressed through state law. Absent

specific legislative action to empower an insurance regulatory entity, the entity cannot act with the

presumption that it is properly acting in the best interests of the public welfare. Indeed, such a

presumption, while perhaps well intended, lacks the underlying legislative mandate that would

render it consistent with insurance-regulatory custom and practice.

                                                 V.

                                            Conclusion

       Defendants’ Experts have not disclosed any facts or reasoning that requires me to alter or

modify any of my opinions expressed in my Report. No inference of agreement should be drawn

if I did not address an issue raised by Defendants’ Experts.




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                                       EXHIBIT A
                                  Documents Considered




Expert Witness Report of James W. dated March 19, 2019
Expert Witness Report of Kevin M. McCarty
Expert Witness Report of Peter Kochenburger, dated May 3, 2019
NAIC Climate Risk Disclosure Survey Guidance Reporting Year 2018, which can be found at:
http://www.insurance.ca.gov/0250-insurers/0300-insurers/0100-
applications/ClimateSurvey/upload/QUESTIONS-AND-GUIDELINES-CLIMATE-RISK-SURVEY-
REPORTING-YEAR-2018.pdf
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